Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 1 of 160 PageID: 2361
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 2 of 160 PageID: 2362
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 3 of 160 PageID: 2363
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 4 of 160 PageID: 2364
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 5 of 160 PageID: 2365
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 6 of 160 PageID: 2366
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 7 of 160 PageID: 2367
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 8 of 160 PageID: 2368
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 9 of 160 PageID: 2369
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 10 of 160 PageID: 2370
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 11 of 160 PageID: 2371
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 12 of 160 PageID: 2372
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 13 of 160 PageID: 2373
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 14 of 160 PageID: 2374
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 15 of 160 PageID: 2375
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 16 of 160 PageID: 2376
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 17 of 160 PageID: 2377
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 18 of 160 PageID: 2378
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 19 of 160 PageID: 2379
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 20 of 160 PageID: 2380
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 21 of 160 PageID: 2381
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 22 of 160 PageID: 2382
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 23 of 160 PageID: 2383
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 24 of 160 PageID: 2384
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 25 of 160 PageID: 2385
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 26 of 160 PageID: 2386
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 27 of 160 PageID: 2387
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 28 of 160 PageID: 2388
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 29 of 160 PageID: 2389
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 30 of 160 PageID: 2390
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 31 of 160 PageID: 2391
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 32 of 160 PageID: 2392
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 33 of 160 PageID: 2393
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 34 of 160 PageID: 2394
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 35 of 160 PageID: 2395
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 36 of 160 PageID: 2396
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 37 of 160 PageID: 2397
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 38 of 160 PageID: 2398


                               CURRICULUM VITAE: EMANUEL KAPELSOHN

    PERSONAL DATA:                   Born: April 23, 1952. Newark, NJ
                                     Marital Status: Married, two children
                                     Address: 1636 N. Cedar Crest Blvd. #320, Allentown, PA 18104
                                     Telephone: 610-360-7053
                                     Email: peregrine@ptd.net

    ACADEMIC DEGREES:                Yale University. B.A. cum laude. English Literature (1974)
                                      Activity: Varsity Heavyweight Crew (earned Varsity Letter)

                                     Harvard Law School. Juris Doctor (1977)
                                      Activity: Harvard Prison Legal Assistance Project

    EMPLOYMENT:

         1985 -      President. The Peregrine Corporation. Design, evaluation and implementation of
                     training programs for police, security, and other armed personnel and civilians
                     throughout the United States and abroad, including use of force, firearms, defensive
                     tactics, executive protection, and specialized training; instructor and armorer training and
                     certification; consulting with regard to the selection of firearms and other equipment;
                     technical evaluation and consulting regarding design and function of firearms and related
                     products; security surveys and risk assessments; litigation consulting and expert witness
                     services; production of videotape training programs, written training materials, training
                     aids, product literature and warnings; writing articles for publication in law enforcement
                     and firearms periodicals.

         2009-10     Adjunct Instructor, Criminal Justice Department, Indiana University, Bloomington, IN.
                     Taught Senior Seminar, “Police Use of Force” (2009, 2010)

         2007 -      Attorney. Lesavoy Butz & Seitz LLC. Allentown, PA. Civil litigation, municipal law,
                     general practice, risk management. 2007 to present.

         2006-7      Associate. Lamm Rubenstone Lesavoy Butz & David LLC. Allentown, PA . Civil
                     litigation, municipal law, general practice.

         1994 -      Associate. Blank Rome LLP, Allentown, PA. Civil litigation, including state and federal
         2006        court practice. Bar admissions: Pennsylvania Supreme Court, Federal District Courts for
                     the Eastern and Middle Districts of Pennsylvania and the Northern District of New York.

         1982-5      Firearms Training Consultant (self-employed). Firearms instruction for police, security
                     and other armed personnel and civilians; consulting and expert witness services; writing
                     articles for publication in firearms periodicals.

         1984-5      Director of Security. Jasna Polana, Princeton, NJ. Private estate security, executive
                     protection and protection of valuables in transit. Responsibilities included hiring and
                     training armed security officers, scheduling, design and implementation of operational
                     procedures, supervision, planning of special operations, dealing with vendors of security
                     equipment and services, and interfacing with law enforcement and other public agencies.

         1979-83     Operative. The Spiesman Agency, New York, NY. Occasional part-time detective work
                     including surveillance, criminal and civil investigations, interviewing of witnesses,
                     process service, and bodyguarding.



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 39 of 160 PageID: 2399


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 2


    1977-82          Associate; Senior Associate. Friedman & Gass, P.C., 99 Park Avenue, New York, NY.
                     Commercial litigation, including trial and appellate practice in state and federal courts
                     throughout the United States for major domestic corporations. Bar admissions: New
                     York Supreme Court; Federal District Courts for the Southern and Eastern Districts of
                     New York, Western District of Pennsylvania, and District of Utah; U.S. Court of Appeals
                     for the 10th Circuit; U.S. Armed Services Board of Contract Appeals, Washington, D.C.


    FIREARMS
    TRAINING
    QUALIFICATIONS: FBI-Certified Firearms Instructor
                    Instructor, Burlington County (NJ) Police Academy (1986-1995)
                    Instructor, Allentown (PA) Police Academy (1999-2007)
                    Technical Editor, The Police Marksman Magazine (1987-1990)
                    Contributing Editor, Special Weapons and Tactics Magazine (1983-1986)
                    Editor, The Firearms Instructor (1994-1995)
                    Editorial Committee, The Firearms Instructor (1988-94, 1996-97, 2001- 2002)

                               International Association of Law Enforcement Firearms Instructors (IALEFI)
                                Active Member (1984- ); Member, Board of Directors (1987- ); Third Vice
                                President (1991- 2011 ); Second Vice President (2012-2015); First Vice-
                                President (2015- )Chairman, Firearms Training Criteria Committee (1995-
                                2016 ); Chairman, Corporate Sponsorship Committee (1987-1990); Chairman,
                                Instructor Certification Committee (1988-1990); Chairman, Safety Committee
                                (1995- 2003); Member, Safety Committee (2003- ); Member, Legal
                                Committee (1987-1999); Chairman, Legal Committee (1999- ); Chairman,
                                Editorial Committee (1994-1995); Member, Editorial Committee (1988-1994,
                                1996-1997; 2001-2003); Chairman, Firearms Training Standards Subcommittee
                                (1992-95); Member, Instructor Criteria Committee (1996- ); Member, By-
                                Laws Committee (1999-2002; 2016- ); Member, Ethics Committee (2003- ).
                                Principal Author or Associate Editor of several IALEFI publications – see
                                below. Originator, IALEFI Handgun Safety Check. Designer, IALEFI Q target
                                series. Member, Instructor Certification Committee (2010 - 2011). Chairman,
                                Instructor Criteria Committee (2020 -     ).

                               Member, National Advisory Board, Police Marksman Association (1986-2006)
                               Special Police Officer, Lawrence Twp. Police Department (1986)
                               Reserve Deputy Sheriff, Cleveland County Sheriff’s Office (1988-1991)
                               Reserve Lieutenant, Albee-Maple Grove Police Department (1989-1990)
                               Special Deputy Sheriff, Salt Lake County Sheriff’s Office (1992-2006)
                               Special Deputy Sheriff, Berks County (PA) Sheriff’s Department (1997- )
                               Reserve Deputy Sheriff, Greene County (IN) Sheriff’s Reserve (June 2008-2012)
                               Staff Instructor in Pistol, Shotgun, and Rifle at the American Pistol Institute
                                (Col. Jeff Cooper, Director) (1980-1982)
                               Senior Affiliate Instructor, Defense Training International (John S. Farnam,
                                President); DTI Instructor Update (2020)
                               Instructor, Executive Security International (Aspen, Colorado 1986-1988)
                               NJ Police Training Commission-Certified Firearms Instructor
                               Pennsylvania Municipal Police Officers Education & Training Commission -
                                Certified Instructor (MPI # 1360, General Instruction, Special Instruction -

    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 40 of 160 PageID: 2400


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 3


                                Firearms, Application of Force)
                               NRA-Certified Police Firearms Instructor
                               NRA-Certified Security Firearms Instructor
                               NRA-Certified Law Enforcement Rifle Instructor
                               NRA-Certified Practical Firearms Instructor (Personal Protection)
                               NRA-Certified Pistol Instructor
                               NRA- Certified Rifle Instructor
                               NRA-Certified Shotgun Instructor
                               NRA-Certified Law Enforcement Submachine Gun Instructor
                               NRA-Certified Home Firearms Responsibility Instructor
                               NRA-Certified Police Tactical Firearms Instructor
                               NRA-Certified Chief Range Safety Officer
                               NRA-Certified Police Precision Rifle Instructor
                               H&K-Certified MP-5 User
                               H&K-Certified MP-5 Instructor
                               SIG Pistol Armorer
                               Glock Pistol Armorer
                               Glock Pistol Armorer Trainer
                               Mossberg Shotgun Armorer
                               Mossberg Shotgun Armorer Trainer. Developed and presented armorer training
                                 programs for O.F. Mossberg & Sons, Inc. for Models 500, 590 and 590DA
                                 shotguns, including consulting on revisions of Armorer’s Manual and
                                 development of related training materials including student handouts, written
                                 and practical examinations, visual aids, etc. Trained other Armorer-Instructors
                                 for Mossberg.
                               Colt Rifle and Submachine Gun Armorer
                               NLETC-Certified Lindell Handgun Retention Systems Intermediate Trainer
                               Glock Authorized Transitional Training Consultant. Designed and taught
                                 armorers and firearms instructor courses on a contract basis for Glock, Inc.
                                 from approximately 1987 through 1993, including development of instructor
                                 notebook and related materials, student handouts, written tests, qualification
                                 standards, visual aids, etc. (See below for specific course dates and locations.)
                               Justice System Training Assoc.-Certified Psycho-Motor Skill Design Instructor
                               Certified Police Defensive Tactics Instructor
                               Firearms Instructor and Safety Officer, U.S. Treasury Department Pistol
                                Club, New York, NY (1980-83)
                               “A” Class IPSC Pistol Competitor
                               Executive Protection Specialist License (State of Colorado)
                               Certified Agent, Pennsylvania Lethal Weapons Act (Act 235)
                               Certified ASP Baton Instructor
                               OCAT-Certified Pepper-Spray Instructor
                               Certified FATS Instructor Trainer
                               NTOA - Certified Less Lethal Impact Munitions Instructor
                               Taser Master Instructor
                               Light Rifle Expert (NRA Rating)
                               Smallbore Rifle Expert (NRA Rating)
                               General Rifle Expert (API Rating)
                               Pistol Expert (NRA and API Ratings)
                               Revolver Expert (NRA Rating)


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 41 of 160 PageID: 2401


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 4


                               Handgun Distinguished Expert (NRA Rating)
                               Shotgun Expert (NRA and API Ratings)
                               Submachine Gun Expert (NRA Rating)
                               Federal Firearms Licensee and Class III Licensee
                               Designer and copyright holder, IALEFI-Q, IALEFI-QP, IALEFI-QR and
                               derivative targets (millions used by numerous law enforcement agencies, and
                               academies nationwide; used worldwide by U.S. Marine Corps Security Detail –
                               U.S. Embassy security; Wyoming Law Enforcement Academy target; Wisconsin
                               DOJ training target; Commonwealth of Massachusetts Training Target, et al.)

                               Testified regarding firearms before the United States Senate Judiciary
                                Committee (Subcommittee on the Constitution), United States House of
                                Representatives Judiciary Committee (Subcommittee on Crime), New York
                                City Council, New Jersey Assembly Committee on Law and Public Safety,
                                Massachusetts General Assembly Committee on Law and Public Safety, and
                                Florida Legislature Committee on Law and Public Safety, California DOJ

                               Selected by Citizen Ambassador Program as Delegation Leader for American
                                Law Enforcement Firearms Instructors Exchange Program to China, planned
                                for Spring 1988 (trip did not occur).

                               Consultant to Sturm, Ruger & Co. regarding law enforcement firearms and
                                development of law enforcement firearms training programs. Presented several
                                demonstrations and familiarization courses with Ruger service pistols at police
                                academies and agencies in Canada, including RCMP Academy, Regina, Canada

                               Consultant to Springfield Armory regarding development of self-defense
                                handguns for the civilian consumers.

                               Boy Scouts of America, Merit Badge Counselor for Rifle and Shotgun
                               New York State IPSC Championships (1979): 5th place overall
                               Second Chance Competition (Central Lake, Michigan 1983): Shot pump-action
                                shotgun on 3-man team that place high nationally, winning rifles.
                               National Tactical Invitational, Harrisburg, PA (1992): 7th place overall
                               National Tactical Invitational, Harrisburg, PA (1993): 4th place overall
                               IALEFI Stephen House Memorial Match, Reno, NV (1993): 6th place overall
                               IALEFI Stephen House Memorial Match, Amarillo, TX (1994): 11th place o/a

                               As a firearms instructor and/or consultant in training and use of force, or as a
                                sworn, armed reserve deputy sheriff or special deputy, have spent many
                                hundreds of hours accompanying police and security officers and/or engaging
                                in patrol and enforcement activities throughout the United States and several
                                foreign countries, in activities including routine patrol, traffic enforcement,
                                armored transport, security of facilities and protection of persons and valuables,
                                vehicular and foot pursuits, K-9 searches, response to crimes in progress, raids
                                and warrant service, arrests, response to shootings and other violent events,
                                arrests at gunpoint, searches of vehicles and persons, response to threatened
                                suicides, alarm response, prisoner transports, road blocks and checkpoints,
                                domestic disturbances, barricaded gunman, mentally ill or emotionally disturbed


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 42 of 160 PageID: 2402


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 5


                                persons, response to vehicle accidents, traffic control, policing public events.

                               Qualified as expert witness by state courts in Connecticut, New York, New
                                Jersey, Pennsylvania, Maryland, Delaware, Tennessee, Georgia, Florida,
                                Louisiana, Arizona, Wisconsin, Minnesota, Michigan, Ohio, Illinois, Iowa,
                                Mississippi, Kentucky, West Virginia and California, and federal courts in
                                Connecticut, California, New York, New Jersey, Pennsylvania, Tennessee,
                                Florida, Louisiana, Maryland, Illinois, Arkansas, Oregon and Montana;
                                consulted and testified on subjects including firearms, firearms training, safety,
                                use, functioning, operability, maintenance and design; inspection and testing of
                                firearms; holster design and weapon retention; firearms accidents; involuntary
                                muscular contraction and unintentional discharge of firearms; physiological and
                                perceptual/psychological effects of gunfight stress (“adrenalin dump,” “fight or
                                flight syndrome” or “body alarm reaction”) including tunnel vision, auditory
                                exclusion, time distortion, tachypsychia, schema; distinguishing toy guns,
                                airguns and other objects from firearms; firearms-related tactics and police
                                procedures; covering of suspects at gunpoint; defensive tactics; use of force in
                                correctional facilities; training psychomotor skills; gunfight statistics and
                                conditions; written training and use materials, including warnings and user’s
                                manuals; ammunition and ballistics, including bullet trajectories, trajectories
                                through glass; ricochets, bullet penetration and expansion, gunshot wound
                                ballistics, ability of individuals to continue physical activity after being shot;
                                behavior of projectiles upon striking steel and other surfaces, cartridge
                                pressures, cartridge case ejection patterns, muzzle flash, and gunshot noise;
                                reaction time and action vs. reaction; time for suspect to turn his body compared
                                to time required for officer to fire shot (“suspects shot in back”); threat level
                                assessment and justification for use of deadly and non-deadly force;
                                movements, police pursuits and use of force during police pursuits; tactics;
                                arrest procedures; firearms history and development; firearms recoil; firearms
                                toolmarks; non-powder guns; vision, threat assessment and shooting under
                                reduced light conditions; performance of human eye when aiming and firing
                                firearms; concealability of firearms; firing range design, safety and
                                maintenance; paintball and other non-powder guns; ammunition reloading and
                                inspection; home storage of firearms; so-called “Saturday Night Specials;” knife
                                threats; use of “OC” (pepper spray); Taser; speed of firing shots; “21 Foot
                                Rule” and time to cover distances; action vs. reaction, reconstruction of
                                shooting scenes; muzzle to target proximity; powder stippling and other close-
                                range ballistic effects; video evidence, improvised impact weapons, etc.

                               Clients and parties on behalf of whom cases have been undertaken have included
                               the U.S. Department of Justice, Department of Energy, and Drug Enforcement
                               Administration; Judge Advocate General Corps; Attorney General’s Offices of
                               Pennsylvania, Wyoming, South Dakota, and Louisiana; Atlantic County (NJ)
                               Prosecutor’s Office; Monroe County (PA) District Attorney’s Office;
                               Cumberland County (PA) and Centre County (PA) District Attorney’s Offices;
                               Kenosha County (WI) District Attorney’s Office; State of Georgia (Atlanta
                               Judicial District); Cities of Pittsburgh (PA), Newark (NJ), Bridgeport (CT), Egg
                               Harbor City (NJ); Town of East Haven (CT); Chicago; New York; San Diego
                               (City and County); Jacksonville; Nashville; Milwaukee; Public Defender’s


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 43 of 160 PageID: 2403


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 6


                               Offices of Monroe County, Clarion County and Lycoming County (PA); State’s
                               Attorney’s Office in Devil’s Lake (ND); State of Delaware Public Defender’s
                               Office; Delaware Department of Justice; Bianchi International; Safariland, Inc.;
                               Glock, Inc., O. F. Mossberg & Sons, Para-Ordnance Mfg, Inc., SigArms, Inc.;
                               Remington Arms; private attorneys representing defendants in criminal and
                               administrative proceedings, and private attorneys representing plaintiffs and
                               defendants in civil cases.

                               Advisory Board Member, Firearm Injury Research Project (national research
                                project conducted through FICAP at University of Pennsylvania) 2001-2005
                               Member, Firearms Section (formerly Firearms Committee), American
                                Society of Law Enforcement Trainers (2000-2003)
                               Consultant to Pennsylvania Municipal Police Officers Education and
                                Training Commission (pro bono) on development of new firearms and
                                use of force curriculum for use at police academies throughout the state;
                                revision of firearms and use of force curriculum in 2015 after 14 years of
                                statewide use; development of use of force mandatory in-service training
                                program (2015), including pilot program and instructor-training program.
                               Consultant to Allentown Jewish Community Center on security issues
                                (pro bono, 1998-2000)
                               Consultant to The Swain School, Allentown, PA, on school security issues
                                (pro bono, 1999-2003)
                               Consultant to Faith Church, Trexlertown, PA on security issues (pro bono, 2017-)
                               Para-Ordnance Armorer-Trainer and Instructor-Trainer. Under contract with
                                Para-Ordnance Mfg. Co., developed and presented armorer and instructor
                                 training programs.
                               Kimber Pistol Armorer-Trainer and Instructor-Trainer. Under contract with the
                                City of Tacoma, and as authorized by Kimber Mfg. Co., developed and
                                presented law enforcement armorer and instructor training programs, including
                                writing armorer notebook, instructor notebook, and related materials.
                               Hunter since age 10: varmints and small game (New Jersey, Pennsylvania,
                                Indiana); deer (New York, New Hampshire, Pennsylvania, Alabama, Louisiana,
                                Indiana); pheasant and partridge (Pennsylvania, New Jersey); ducks Louisiana);
                                dove (Pennsylvania); woodcock (Connecticut); wild boar (NH, TX, OH).
                               Handloader and reloader of ammunition, including bullet casting (1978 - )
                               Oregon Department of Public Safety Standards & Training – Certified Firearms
                                Instructor (2002)
                               Commonwealth of Pennsylvania, Municipal Police Officers Education &
                                Training Commission, subject matter expert - member of standing Firearms
                                Committee developing guidelines, policy and standards on firearms issues;
                                member of committee developing state-wide standards for police patrol rifle
                                (2003 - )
                               Good Shepherd Hospital Charity Sporting Clays Tournament (2002, 2004, 2005)
                               Consultant to City of Easton regarding Easton Police Department firearms
                                training, policies and procedures, and Easton SWAT Team (2005).
                               Certified Benelli Shotgun Armorer (2006)
                               Chairman, Firearms Committee, Berks County Sheriff’s Department. Chaired
                                departmental committee hearings, making determinations with regard to
                                intentional and accidental shootings.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 44 of 160 PageID: 2404


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 7


                               Consultant to Lehigh County Municipal Emergency Response Team (“MERT”)
                                 regarding use of force policies (2006-2007).
                               Consultant to California U. of Pennsylvania re. firearms and use of force policy
                               U.S. Department of Justice: included on list of attorneys selected to provide
                                 emergency interim legal representation of federal agents involved in shootings
                                (2000- ).
                               Invited by Chinese government to travel to China to teach police firearms
                                 instructors (2010; declined invitation)
                               “Governor’s Award,” Indiana Police Firearms Training Association (2010)
                               Recipient, 2012 IALEFI “Charlie Smith Award” (“In recognition of your tireless
                                 efforts and unwavering loyalty to the goals, ideals, and members of our
                                 organization.”)
                               Appointed to Advisory Board, Armed Citizens Legal Defense Network (2012)
                               Consultant to PA MPOETC in revision of police academy curriculum (2014-15),
                               and development of Mandatory In-Service “Use of Force” program taught to
                               25,000 police officers statewide, including teaching of pilot program and
                               conducting instructor-training program.
                               FASTER-certified Intervention Specialist (Chris Cerino and Andrew Blubaugh,
                                 Instructors, Rittman, Ohio 2018)
                               Rangemaster-certified Firearms Instructor (Tom Givens, Instructor, Xenia, Ohio
                                 2018)
                               Advanced Force Science Specialist, Force Science Institute (2018) (see below)
                               UTM Professional Training Organization (“PTO”) certification
                               Realistic De-Escalation Instructor, Force Science Institute (2021) (see below)

    TRAINING
    COURSES
    ATTENDED:
                               API Basic Pistol Course (1979): Expert rating; finished second in class
                               API Special Pistol Course (1980): Expert rating; finished first in class
                               API Defensive Shotgun Course (1981): Expert rating; finished second in class.
                               API Rifle Course (1983): Expert rating; finished third in class.
                               American Small Arms Academy, Submachine gun tutorial, Chuck Taylor (1981)
                               Police Marksman Association Police Officer Advanced Street Survival Seminar
                                (Instructors Massad Ayoob, Ray Chapman, Jim Morell, et al., 1983): Certif.
                               Defense Training International, Defensive Handgun/Defensive Submachine Gun
                                (1983): Certificate
                               Red Cross First Aid Course (1984): Certificate
                               Red Cross CPR Course (1984): Certificate
                               Red Cross CPR Course (1991): Certificate
                               New Jersey Hunter Safety Courses (1966, 1967, 1968): Certificates
                               NRA Security Firearms Instructor School (FBI Academy, Quantico, VA 1984):
                                Pistol Expert, Revolver Expert, and Shotgun Expert: Certificates
                               Law Enforcement Training - Survival 3 Seminar (1984): Certificate
                               International Police Academy - Morell-Trained Instructors Seminar
                                (Instructors Jim Morell and John Desmedt, 1984): Certificates of Training
                                in Principles of Control and in Advanced Instructor Training
                               BSR Counter-Terrorist Driving School (Summit Point Raceway, West Virginia,
                                1984): Certificate


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 45 of 160 PageID: 2405


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 8



                               International Police Academy - Defensive Tactics Instructor Level 1
                                (Sampson Technical College, Clinton, NC 1984): Certificate
                               FBI Firearms Instructors Course (Burlington County Police Academy, 1985):
                                Certificate
                               International Police Academy - Master Instructors Seminar (Instructors Morell,
                                Desmedt, et al., 1985): Certificate and Guest Instructor Award
                               1984 National Training Conference, International Association of Law
                                Enforcement Firearms Instructors (Nashville, TN): Certificate
                               91st Annual Conference, International Association of Chiefs of Police
                                (Salt Lake City, UT 1984)
                               LAPD Ordnance Exposition (Los Angeles 1984): Seminars on Handgun
                                Survival; Firearms Evidence; Officer-Involved Shooting Incidents: Certificates
                               ESI Advanced Executive Protection Program (Aspen, CO 1985): Certificate
                                and State of Colorado Executive Protection Specialist License
                               1985 National Training Conference, International Association of Law
                                Enforcement Firearms Instructors (Philadelphia, Police Academy): Certificate.
                                Presented instructor-level class on close-range shooting techniques
                               U.S. Marshal Service Automatic Weapons and Officer Survival Course
                                (North Carolina 1985): Certificate
                               Tactical Response Association Ordnance Exposition (Las Vegas, 1986):
                                Attended seminars on Rapelling SAS Method, Shooting Simulation Response
                                Course, Satanic Cults and Crimes, Terrorism Perspective 1986, and
                                International Terrorism Symposium: Certificates
                               NRA Law Enforcement Rifle Instructor School (U.S. Marine Base, Quantico,
                                VA 1986): Scored 99.33% on firing test: Certificate
                               1986 National Training Conference, International Association of Law
                                Enforcement Firearms Instructors (Orlando, FL): Certificate. Presented
                                instructor-level classes on Dim-Light Handgun Shooting; Police Shotgun
                               International Police Academy - Straight Baton Class (Instructor Jim Morell,
                                Allentown, PA 1986): Certificate
                               Department of Defense Tactical Team Training Seminar (ARDEC, 1986):
                                Certificate
                               Calibre Press Street Survival Seminar (Atlantic City, NJ 1986): Certificate
                               Tactical Response Association World Conference on Terrorism (Washington,
                                D.C. 1987): Attended seminars on GSG 9 Tactics, Hostage Negotiation, and
                                Making of SWAT Teams: Certificate
                               Glock Armorer’s Course (Beltsville, MD 1987): Certificate
                               Ordnance Expo ‘87 (Chicago, IL): Attended seminars on Vicarious Liability
                                for Law Enforcement/Psychological Screening of Officers; Indoor and Outdoor
                                Range Design; Tactical Load-Bearing Vests for Special Operations; and
                                Revolvers vs Semi-automatic Pistols
                               NLETC Lindell Handgun Retention System Course (1987): Intermediate
                                Trainer Certification
                               1987 National Training Conference, International Association of Law
                                Enforcement Firearms Instructors (Mesa, AZ): Certificate. Presented
                                instructor-level classes on tactical use of cover.
                               NRA Law Enforcement Semi-Automatic Pistol Seminar (U.S. Marine Base,
                                Quantico, VA 1987). Attended and served as Chief Instructor for this course.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 46 of 160 PageID: 2406


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 9


                               NRA National Instructors Conference (Orlando, FL 1988): Attended sessions
                                on NRA Personal Protection Course and on Modern Rifle Training Techniques
                               Tactical Operations Seminar (Law Enforcement Defensive Systems. New Jersey
                                1988. Instructor Robert J. O’Brien): Certificate
                               AAI Corporation Law Enforcement Chemical Munitions Training Program
                                (New Jersey 1988): Certificate
                               Factory Tours and Visits: Colt Firearms (Hartford, CT); Smith & Wesson
                                (Springfield, MA); Mossberg (North Haven, CT); U.S. Repeating Arms
                                Co. (New Haven, CT); Sturm Ruger & Co. (New Hampshire and
                                Prescott, AZ); Winchester (East Alton, IL); Swartklip Munitions
                                (South Africa); Glock Gesmbh. (Austria); AV Technologies (Michigan);
                                Second Chance Body Armor (Michigan); Para-Ordnance (Toronto); Keystone
                                Sporting Arms (Milton, PA); Kimber Mfg. Co. (New York);
                                Mossberg/Maverick Arms (Eagle Pass, TX); Glock, Inc. (Smyrna, GA 1989,
                                2014 and subsequent); Gould & Goodrich Holsters (Lillington, NC) 2017.
                               SHOT Shows and NRA Annual Shows: attended various years 1984-2016 et seq.
                               Museums visited (arms and armor collections) include Winchester Gun Museum
                                (New Haven, CT), Museum of the Confederacy (Richmond, VA), Arms and
                                Armor Museum (Kutztown, PA), Metropolitan Museum Arms and Armor
                                Collection (New York, NY), National Firearms Museum (Fairfax, VA), U.S.
                                Marine Corps Museum (Quantico, VA 1987), West Point Museum (West Point,
                                NY), Pennsylvania State Police Weapons Collection (Hershey, PA), U.S.
                                Army Ordnance Museum (Aberdeen Proving Grounds, MD), Texas Rangers
                                Museum (San Antonio, TX), and private tour of Division Balistique,
                                Laboratoire de Police Scientifique at Police Headquarters, Paris, France
                                (ballistics laboratory and weapons collection); National Museum of the Marine
                                Corps (Quantico, VA 2008).
                               Visit to G.I.G.N. Headquarters to observe firearms training and facilities
                                (French Gendarmerie Counter-terrorist and Hostage Rescue Team), Versailles,
                                France (2008)
                               SIGARMS Law Enforcement Firearms Familiarization Course (October 1988):
                                Certificate
                               1988 National Training Conference, International Association of Law
                                Enforcement Firearms Instructors (St. Augustine, Florida): Certificate.
                                Presented instructor-level class on dim-light assault rifle and shotgun
                                techniques; moderated panel discussion on semi-auto pistol transition training.
                               Second International Training Seminar, American Society of Law Enforcement
                                Trainers (Kansas City, Missouri 1989): Certificate. Presented instructor-level
                                classes on draw and close-range handgun techniques; attended classes on
                                training female officers, straight baton techniques, maximization of revolver
                                skills, and teaching psychomotor skills
                               Wound Ballistics Seminar (Instructors Dr. Martin L. Fackler, M.D., et al.)
                                Phoenix, Arizona 1989): Certificate
                               1989 National Training Conference, International Association of Law
                                Enforcement Firearms Instructors (Salt Lake City, Utah): Certificate.
                                Presented instructor-level class on dim-light assault rifle/shotgun techniques
                               NRA Law Enforcement Submachine Gun Instructor Development School
                                (Burlington County NJ Police Academy 1989): Certificate
                               H&K MP-5 Submachine Gun Course (Sterling, VA 1989): Certificate


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 47 of 160 PageID: 2407


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 10


                               H&K MP-5 Instructor Course (Sterling, VA 1989): Certificate
                               SIG Pistol Armorer’s School (Richmond, VA 1990): Certificate
                               1990 Annual Training Conference, International Association of Law
                                Enforcement Firearms Instructors (Washington, D.C.): Certificate. Attended
                                courses on range control, use of cover, and shotgun. Presented instructor-level
                                classes on concealed carry handgun, auto-pistol transitional training, and dim-
                                light handgun and shotgun; participated in panel discussion of police handgun
                                caliber selection and effectiveness
                               IALEFI Regional Training Conference (Dutchess County, NY 1991): Presented
                                classes on cover mode and involuntary discharge; advanced shotgun
                                techniques. Attended classes on use of lethal force (Lt. James Garside) and
                                advanced auto-pistol techniques (S&W Academy Staff)
                               1991 Annual Training Conference, Internat’l Association of Law Enforcement
                                Firearms Instructors (Mesa, AZ): Certificate. Attended courses on concealed
                                carry, range training vs. real world, utilization of steel targets, Berkeley
                                shooting incident, wound ballistics (Fackler), perception vs. reality in use of
                                lethal force (Garside), and handgun inspection. Courses taught: see below
                               Police Long Rifle Certification Course, International Association of Chiefs
                                of Police (Ft. Dix, NJ 1991)
                               American Society of Law Enforcement Trainers Fifth International Training
                                Seminar (Milwaukee 1992): Certificate. Attended courses on wound
                                ballistics (Marshall), dealing with the hostile learner, principles of adult
                                learning. Courses taught: see below
                               IALEFI Regional Training Conference (Dutchess County, NY 1992): Attended
                                classes on bullet performance (Ayoob), semi-automatic police shotgun (Felter),
                                and tactical handgun (Hackathorn): Certificate. Courses taught: see below
                               IALEFI Regional Training Conference (Long Island, NY 1992): Attended
                                class on counter-sniper rifle: Certificate. Courses taught: see below
                               Ken Hackathorn Tactical Firearms Course (Pottsville, PA 1992) for handgun,
                                shotgun, and submachine gun: Certificate
                               1992 IALEFI Annual Training Conference (Tampa, FL): Certificate. Attended
                                courses on tactical handgun (Halleck/Odle); Close Quarters Firearms Control
                                Tactics (Klugiewicz); Reaction vs. Precision Shooting (Rogers); Tactical
                                Planning Principles/Cover Utilization (Casavant). Courses taught: see below
                               Police Counter-Sniper Rifle Course, Instructor Group, U.S. Army Marksmanship
                                Training Unit (Ft. Benning, GA 1992): Certificate
                               Real Life Personal Security Program (Dale Yeager, Instr. Pottstown, PA 1993)
                               1993 IALEFI Annual Training Conference (Reno, NV): Certificate. Attended
                                courses on Tactical Handgun (Campbell), Planning for Critical Incidents
                                (Cassavant), Gunfight Dynamics (Repass, et al.). Courses taught: see below
                               IALEFI Regional Training Conference (Nassau County, NY 1993): Certificate.
                                Attended classes on use of force continuum and perception (Garside);
                                realistic knife defense. Courses taught: see below.
                               Aerosol Chemical Restraint User Class (Wernersville Police Department, 1993):
                                Certificate
                               1994 IALEFI Annual Training Conference, Orlando, FL: Certificate. Attended
                                courses on Dynamic Teaching Techniques (R. Lindsey); Defensive Tactics
                                for Women (Sgt. Pam Miller). Coordinated safety for all training events.
                                Courses taught: see below


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 48 of 160 PageID: 2408


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 11


                               Search & Rescue Tracking, Ashmore Enterprises (CT (1994): Certificate
                               Management of Workplace Violence, ASIS, Reading, PA (1994).
                               CPR and Emergency Cardiac Care Provider course, American Heart
                                Association, and Oxygen Therapy Emergency Response Training, SOS
                                Technologies (OTI authorized) (1995, recert. 1996, 1999)
                               Colt Armorer Course (Ct. 1995): Certificate
                               LFI-1: Judicious Use of Deadly Force (Lethal Force Institute, Massad
                                Ayoob, Instr. 1995): Certificate
                               1995 IALEFI ATC, Amarillo, TX: Certificate. Attended course on Law
                                Enforcement Officers Flying Armed (FAA approved course: Certificate)
                               OCAT Oleoresin Capsicum Aerosol Instructor Training, Harrisburg Area
                                Community College (1996): Certificate
                               Concealed Carry Handgun Course, Arizona Law Enforcement Firearms Instr.
                                Annual Training Conference, Mesa, AZ (1996): Mark Fricke, Instructor
                               NRA Law Enforcement Tactical Firearms Instructor School, U.S. Marine Base,
                                Quantico, VA (1996): Certificate
                               Urban Rifle Course, Thunder Ranch, TX (Clint Smith, Instr. 1996): Certificate
                               1996 IALEFI ATC, Mesa, AZ: Certificate. Attended courses on Weapon
                                Defense (Klugiewicz); Officer Survival (FBI). Coordinated safety for all
                                events. Courses taught: see below
                               Defensive Tactics/Personal Weapons Course, Paradigm Training (1997):
                                Certificate
                               FATS Instructor-Trainer Certification Course (MPOETC, Harrisburg, PA
                                1997): Certificate
                               1997 IALEFI ATC, Columbia, Missouri: Certificate. Attended courses on
                                Protective Detail Training (Wilt); Sharpening the Warrior’s Edge
                                (Bruce Siddle); Use of the Handgun In A Hostile Environment
                                (Spaulding); and The Bulletproof Mind (Lt. Col. Dave Grossman).
                                Coordinated safety for all events. Courses taught: see below
                               NTOA Tactical Technologies Expo (Philadelphia, 1998): Attended courses
                                on Domestic Terrorism, Less Lethal Projectiles, and U.S. Military’s
                                Warfighting Laboratory Project. Certificate
                               Security for Overseas Travel. Vance International, Reading, PA, 1998
                               NTOA Less Lethal Impact Munitions Instructor Course, Bucks County
                                Police Academy (1998): Certificate
                               Oleoresin Capsicum Aerosol User’s Course, Paradigm Consulting Corp.
                                (1998): Certificate
                               Monadnock Expandable/Straight Baton Advanced Course (Tim Lynch,
                                Instr.) 1998: Certificate
                               1998 IALEFI ATC, West Palm Beach, FL: Certificate. Attended courses on
                                Training Injuries and Deaths (Kat Kelly/Robert Bragg); Confined Space
                                Weapons Engagement (Slowik); The Bulletproof Mind (Lt. Col. D. Grossman)
                               Taser Master Instructor Course (Instructor Rick Smith. VA, 1999): Certificate
                               IALEFI RTC, Philadelphia Police Academy, PA (1999): Certificate. Attended
                                courses on Patrol Rifle Course Design; Practical Shotgun Skills; and Dim Light
                                Training Techniques
                               Pennsylvania Hunter Safety Course (1999): Certificate
                               1999 IALEFI ATC, Phoenix, AZ: Certificate. Attended courses on Innovative
                                Training on a Limited Budget; Mental Preparation for Armed Confrontations


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 49 of 160 PageID: 2409


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 12


                                (Croty); Edged Weapons (Lynn Thompson); Instructor Development (Wilt);
                                and Recreation of Officer-Involved Shootings (Westrick)
                               2000 ASLET International Training Seminar, Richmond, VA: Certificate.
                                Attended courses on Patrol Rifle Training Programs; Building Search (contin.)
                                Tactics; Use of Deadly Force; Maximizing Time & Budget in Firearms
                                Training; Post-Shooting Procedures (Grassi); Backup & Contact/Cover
                                Principles; Firearm Retention & Disarming (Demetriou); Advanced
                                Firearms Instructor Training (FBI Training Cadre); Training Female
                                Shooters; Protocol for Major Use of Force Investigations (Michael
                                Stone, Esq.); Point Shooting (Lovette). Trained on use of force
                                simulators (FATS, Caswell AIS, American Laser Technologies)
                               IALEFI RTC, Philadelphia Police Academy (2000): attended courses on
                                Response to Active Shooters in Schools (L. Glick); Dim-Light Shotgun
                                Skills (Boyle). Courses taught: see below
                               Gunshot Wounds Seminar, Reading, PA 2000. J. Holliman, M.D., Instructor
                               2000 IALEFI ATC, Tampa, FL: Certificate. Attended courses on Urban
                                Rifle (Farnam), Ultimate Shotgun (Hoffner), Point Shooting (Chiodo and
                                Lovette), and Bulletproof Mind (Grossman). Coordinated safety for all
                                events. Courses taught: see below.
                               Patrol Response to Active Shooters in Schools and Public Buildings, NTOA
                                (Exeter Twp. Police Dept., PA, April 2001, L. Glick, Instructor): Certificate.
                               NRA Police Precision Rifle Instructor Development School. The Crucible,
                                Fredericksburg, VA (2001): certificate of successful completion
                               2001 IALEFI ATC, Reno, NV: Certificate. Attended courses on Gender-Based
                                Learning Differences (V. Farnam), Simulation Training and Munitions
                                (Klugiewicz). Assistant Safety Coordinator for all events. Courses taught: see
                                below.
                               Glock Armorer Course (Recertification): Wind Gap, PA (2002): Certificate
                               GAU/17 7.62mm NATO (“GE Mini-Gun”) Training, Patrick Air Force Base,
                                Melbourne, Florida (2002)
                               GAU/17 7.62 mm NATO Training, Crane Naval Surface Warfare Center,
                                (Crane Air Force Base) Indiana (2002)
                               2002 IALEFI ATC, San Diego, CA: Certificate. Attended course on Dim-Light
                                Survival Techniques (Ken Good, Instructor). Chief safety coordinator for all
                                events. Course taught: see below.
                               2003 IALEFI ATC, Orlando,FL: Certificate. Attended courses on Advanced
                                Tactical Rifle Techniques, Shoothouse Instructor Development, Rapid
                                Response to Active Shooters, Vehicle Stop Response Tactics, Stress Analysis
                                Shooting Situations, Mental Conditioning and Mindset (Capt. Joe Robinson),
                                and Blackhawk Down Lecture (Col. Danny McKnight). Attended trade show
                                and hands-on weapons demonstrations.
                               Price’s American Kenpo Karate Center. Leesport, PA. Student in Kenpo Karate
                                (2003-2004)
                               Threat Analysis Seminar, Reading, PA (2003): Certificate. Instructor Richard L.
                                Ault, Ph.D., Academy Group, Inc., former SA, FBI Behavioral Science Unit
                               Warrior Arts Seminar (Stick and Knife Fighting). Al McLuckie, Instructor.
                                Leesport, PA (2004).
                               ATF Dim Light Firearms Training. Los Angeles Police Academy. (2004)
                               Taser Master Instructor Recertif. Course. Fogelsville, PA (2004). Certificate


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 50 of 160 PageID: 2410


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 13


                               2004 IALEFI ATC, Dayton, Ohio. Certificate. Attended classes on Performance
                                Under Stress (Ernest Langdon), Use of Laser Sighting Devices (Hackathorn),
                                Pistol Skills (D. Carroll), and presentation on training principles (CSM Eric
                                Haney). Assisted with Handgun Safety Check. Course taught: see below.
                               Berks County Sheriff’s Department, semi-annual training and qualification
                                sessions with handgun, shotgun and/or patrol rifle (1997-2004)
                               Disaster Planning: Meridian Bank Fire. ASIS Lehigh Valley Chapter. (2005)
                               SHOT Show (Las Vegas, 2005). Attended industry trade show.
                               2005 IALEFI ATC, Reno, Nevada. Certificate. Attended classes on Officer
                                Involved Shooting (Marcus Young); Research on Firearms Ejection Patterns,
                                Reaction Time, Perceptual Distortions Under Stress, and Other Physio-
                                Psychological Gunfight Reactions (Dr. Wm. Lewinsky); The Winning Mind
                                (Brian Willis); Innovative Low-Light Training; Finishing the Fight (Jeff Hall);
                                Use of Force Options & Policy (Jon Blum); Close-Range Point Shooting (Matt
                                Tempkin); Application of Marksmanship; Training at the Speed of Life
                                (Ken Murray). Course taught: see below.
                               Repetitive Strain Injuries (Somerset, NJ 2005)
                               Use of Force in Pennsylvania (Philadelphia 2006). 6 CLE credit hrs. Certificate
                               SHOT Show (Las Vegas, 2006). Attended industry trade show.
                               2006 IALEFI ATC, West Palm Beach, FL. Certificate. Attended classes on
                                Patrol Rifle, Survival Vision; Handgun Light Instructor, Cops on the 4th
                                Generation Warfare Battleground (DuVernay); Concealed Carry; Managing
                                Use of Force Training (Albert Lee); Mindsighting (Dr. Michael Asken).
                               Benelli Shotgun Armorer’s Course (West Paterson (NJ) Police Department 2006)
                               BATF Training Classes, “Characteristics of Armed Suspects,” “Firearms
                                Identification,” and “ATF Firearms Trace Program.” Alvernia College (2007)
                               SHOT Show (Orlando, FL 2007). Attended industry trade show.
                               Mastering the Defensive Folding Knife. Northeastern Tactical Schools. Michael
                                de Bethencourt, Instructor. (Hellertown, PA 2007) Certificate.
                               Firearm Retention, Disarming and Recovery. Northeastern Tactical Schools.
                                Michael de Bethencourt, Instructor. (Hellertown, PA 2007) Certificate.
                               CDT Personal Protection Training. (Reading, PA 2007) Level 1 Certificate.
                               2007 IALEFI ATC, San Antonio, TX. Certificate. Attended classes on Tactical
                                Anatomy (James Williams, MD), Patrol Rifle (D. Alwes), Close Quarters
                                Handgun Techniques (H. Iverson), Hojutsu-Ryu (J. Hall), Handgun Light
                                Instructor, Virtual Reality Training (Livefire Interactive), Legal Standard –
                                Objective Reasonableness (T. Harper, Esq.).
                               Seminar, “Police Involved Shootings – When the Smoke Clears.” Westchester
                                County Detectives Association (Yorktown Heights, NY 2007). Instructors
                                Michael Baden, MD (Chief Forensic Pathologist, NYSP), Thomas Martin
                                (Sr. Investigator, Forensic Ident.Unit, NYSP), ADA Michael Hughes
                                (Public Integrity Bureau, Westchester DA’s Office), Det. Michael Palladino,
                                and Emanuel Kapelsohn (see below). Certificate
                               SHOT Show (Las Vegas, 2008). Attended industry trade show. Attended
                                seminar on proper firearms retailing procedures to comply with legal and
                                regulatory requirements, and seminar on advances in, testing and selection of
                                OC aerosol devices.
                               2008 IALEFI ATC, Reno, NV. Certificate. Attended classes on Combat
                                Mindset, Response to Active Shooters (rifle and handgun), One-Shot


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 51 of 160 PageID: 2411


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 14


                                Qualifications, Treatment of Medical Emergencies for Firearms Instructors,
                                Mental Preparation. Competed in Memorial Match. Classes taught-see below.
                               Indiana Pre-Basic Law Enf. Officers Course. 2008. Successfully completed.
                               Indiana Basic Firearms Course. Greene County Sheriff’s Department (2008).
                                Qualified with SIG P229 handgun (expert rating) and Remington 870 shotgun.
                               Indiana Basic Defensive Tactics Course. Greene County Sheriff’s Department
                                (2008). Successfully completed.
                               Response to Active Shooters. Greene County, IN (2008). Presented by Crane
                                Naval Surface Warfare Center. Successfully completed.
                               Shooting Scene Reconstruction Course, Eugene (OR) Police Department, 2008.
                                Mike Haag, Instructor. Certificate
                               2009 Conference, International Law Enforcement Educators & Trainers
                                Association (“ILEETA”), Chicago, IL. Attended courses: New Paradigms in
                                Firearms Training (Conti), Human Factors and Stress in Lethal Confrontations
                                (Darrell Ross, Ph.D., et al.), Active Shooter Update (Alwes), Taser Training
                                Overview/Update, Tracking Down Valid Firearms Training (G. Morrison,
                                Ph.D.), plus trade show and handgun competition. Taught course on use of
                                force policy (see below).
                               2009 IALEFI ATC, West Palm Beach, FL. Certificate. Attended industry trade
                                show; shot in IALEFI Memorial Match. Attended lectures and classes: Von
                                Maur Shooting; Firearms Training for Active Shooter Response; Law
                                Enforcement Legal Liability; Tactical Response to Lethal Threats (Allen & G.
                                Lee); Teaching Female Shooters; A Collaborative Approach (L. Hamblin, C.
                                Schroeder, et al.); Teaching Female Shooters; Expert Witness Preparation for
                                the Firearms Instructor; Benefits and Risks of Verbalization in Deadly Force
                                Encounters (G. Klugiewicz). Course taught: see below.
                               Tactical Treatment of Gunshot Wounds. Anthony M. Barrera, M.D. (Lebanon,
                                IN 2009. Certificate.)
                               Active Shooter Response. Greene County, IN (2009). Presented by personnel
                                from Crane NSWC.
                               Force Science Certification Course. Milwaukee County Sheriff’s Office,
                                Milwaukee, WI. Force Science Institute. Dr. Bill Lewinski, Dr. Anthony
                                Pinizzotto, Dr. Joan Vickers, Dr. Ed Geiselman, Dr. Alexis Artwohl, Dr.
                                Richard Schmidt, Dr. Matthew Sztajnkrycer (2009. Certificate.)
                               2010 Conference, International Law Enforcement Educators & Trainers
                                Association (“ILEETA”), Chicago, IL. Attended courses: Handgun Retention
                                and Disarm Instructor (certificate); Characteristics of Exceptional Trainers;
                                Critical Combative Concepts; Smart Use of Force; Heroic Cynicism – How to
                                Live Life in the Arena (Van Brocklin); Stress in Law Enforcement (Artwohl);
                                In Pursuit of Personal Excellence (Brian Willis); Warriors, Force and Winning
                                (certificate). Attended law enforcement products trade show.
                               “The Bulletproof Mind,” Lt. Col. Dave Grossman. Boone County Sheriff’s
                                Department (2010)
                               2010 IALEFI Annual Training Conference, San Antonio, TX. Attended law
                                enforcement products trade show. Conducted Handgun Safety Check for 120
                                first-time attendees. Attended courses: Begged, Borrowed, Stolen; So You’re
                                Qualified – Now What?; Off-Duty Weapons (M. Boyle); Excited Delirium;
                                Diagnosing Shooters (A. Stallman). Course taught: see below. Certificate.
                               Indiana Hunter Education/Hunter Safety Course (2010). Passed, issued card.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 52 of 160 PageID: 2412


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 15


                               Police Defensive Tactics Refresher (2011). Greene County Sheriff’s Department
                               Emergency Vehicle Operations Course (2011). Greene County Sheriff’s Dept.
                               2012 SHOT Show, Las Vegas, NV. Attended trade show, and courses on Low
                                Light Equipment and Techniques (Instructor J. Meyer) and “Train the Trainer,
                                Below 100,” (Instructors Dale Stockton, et al.)
                               Terminal Ballistics & Field Trauma Care, Greene County Sheriff’s Dept. (2012)
                               2012 ILEETA Conference, Chicago, IL. Attended courses: Law
                                Enforcement/Media Relations; Taser Training & Updates; Range Emergencies;
                                Advanced Firearms Training on a Limited Budget; Police Use of Force Training
                                & Preparation (Chudwin); Deadly Force Training Performance & Officer
                                Safety; Designing Stress-Exposure Training; Swarming, Flash Mobs & the
                                OODA Loop; Verbal Defense & Influence (“Verbal Judo”) (Klugiewicz);
                                Street-Level Counter-Terrorism; Use of Force Accountability (Brave); Positive
                                Relations – Law Enforcement & Armed Citizens; Deadly Force Panel of
                                Experts (panelist). Also attended industry trade show.
                               2012 IALEFI Annual Training Conference, Nashville, TN. Attended courses:
                                Arrest and Control Tactics (Beckley); Simple Martial Art for Self-Defense
                                (Albert Lee); Patrol Rifle Basics; Sports Physiology Approach to Firearms
                                Training; Filling the Tank; Warriors & Leaders; Great American Gunfights.
                                Instructed: Firearms Instructor as Expert Witness. Also, attended industry
                                trade show and hands-on firearms demonstrations.
                               2013 IALEFI Annual Training Conference, Mobile, AL. Attended courses:
                                Confined Space Engagement (Farren); Vision-Based Shooting (Stimmell). Also
                                attended industry trade show. Courses taught: see below.
                               Glock Armorer’s Course, Old Bridge, NJ (2013).
                               Knife Defense/Knife Fighting Seminar, Hank Hayes, Instructor. No Lie Blades.
                                Allentown, PA (2013) (class audited only, due to injury)
                               2014 SHOT Show, Las Vegas, NV. Attended industry trade show.
                               2014 ILEETA Conference, Lombard, IL. Attended courses: Shots Fired,
                                Suspect Down (John Bostain); Critical Combative Concepts (Charles Humes);
                                Force Related Policies & Issues (Mike Brave); Critical Look at Firearms
                                Qualifications (David McGaha); Police Use of Force Tactics and Law
                                (Chudwin); Gunman in the Lobby, Officer Down (Joe Ferreira); Verbalization
                                Skills (Klugiewicz); Path to Self-Discovery (Bob Lindsey); Street Officer
                                Medical Tactics (Eric Dickinson); Embrace the Suck- Winning Strategies
                                For Trainers (Brian Willis); “Heroes Behind the Badge”; Deadly Force
                                Expert Panel (Ayoob, et al.); Choose Your Words Wisely (Joanne Ryan and
                                Thomas McGreal); Coaching Mental Toughness (Quinn Cunningham);
                                Sharpening the Winning Edge (Brian McKenna); Interactive Firearms Training
                                (Lt. Dan Marcou). Course taught: See below.
                               2014 IALEFI Annual Training Conference, Amarillo, TX. Attended courses:
                                Surviving the First Three Seconds (Tpr. Hensley); Extended Range Off-Duty
                                Handgun Operation (Michael Johnson); Vision-Based Shooting (Jim Stimmell);
                                Identifying the Limits of Firefight Performance; Threat Pattern Recognition
                                Firearms Training System (Bruce Siddle, Human Factor Research Group)
                                Classes Taught: see below.
                               NRA Personal Protection Outside the Home (2014): certificate
                               2015 SHOT Show, Las Vegas, NV. Attended industry trade show.
                               Glock factory tour and armorer-trainer update. Smyrna, GA (2015)


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 53 of 160 PageID: 2413


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 16


                               Winning Mind Seminar, Dave Smith, Instr. ,PA State Police Academy (2015)
                               2015 ILEETA Conference, Wheeling, IL. Attended courses: Deadly Force Panel
                                of Experts (panelist, see below); Creating Training Miracles; Understanding
                                Response Time in Law Enforcement; Emergency Preparedness for Law
                                Enforcement Families; Ambush – Preparing Officers for the #1 Killer;
                                Defensive Knife (Halleck); Down to Zero – Unintentional Discharges in Law
                                Enforcement; Becoming Knights – Teaching Warrior Mindset; Mistake of Fact
                                Shootings (Santos); Use of Force Report Writing; Active Shooter Panel
                                Discussion (panelist, see below); Use of Force and Liability; Blended Learning;
                                Lifesaving Made Easy; Think Like a Soldier, Act Like a Cop
                               2015 IALEFI Annual Training Conference, West Palm Beach, FL. Attended
                                courses: Lecture on Leadership (Col. Danny McKnight); Current Issues for
                                Firearms Instructors (Alwes); Developing Courses of Fire (Marrs);
                                Contaminated Combat (Liske, audited only); Reflex Sights (Martello); Close
                                Quarter Transitions (Jeff Prather).
                               Gun Law Seminar, U.S. Law Shield, Allentown, PA (2015)
                               Tavor Level 1 Armorer’s Course, including 9mm Conversion and Right/Left
                                 Hand Conversion. Harrisburg Area Community College. Certificate (2015).
                               FN15 Armorer Course, Berks County Prison, Leesport, PA (2015). Certificate.
                               IALEFI Regional Training Conference, Freeport Police Range, Long Island, NY
                                 (2015). Certificate. Attended classes on Use of Force (Chief James Garside),
                                 Lateral Vascular Neck Restraint (Thomas Graham); and Master Pistol Instructor
                                 Skill Builder Class (Steve Gilcreast, Sig Sauer Academy).. Class taught: see
                                 below.
                               2016 ILEETA Conference, Rosemont, IL. Attended courses: Deadly Force
                                 Panel of Experts (panelist, see below); Active Shooter Panel Discussion; Use of
                                 Force Panel Discussion; How to Survive and Win In An Ambush (Shaykhet);
                                 Lights, Sights & Lasers (Wes Doss); Patrol Rifle (John Farnam); Responding to
                                 the Officer-Involved Shooting (Burke, IMPD); Human Factors in Training and
                                 Performance (John Bennett); Video Evidence (NV DPS); Guardians are
                                 Warriors (Mahoney); Body Searches (Cpl. Julie Johnson); Black Lives Matter
                                 (Ron Martinelli); Lessons From the Great Law Dogs in History (Lt. Dan
                                 Marcou).
                               Video Evidence Class, Force Science Institute, Chicago, IL (2016, Certificate)
                               2016 IALEFI Annual Training Conference, Mobile, AL. Attended Courses:
                                 Surviving the First Three Seconds (Tpr. Robert Robertson, NC Highway
                                 Patrol); Active Shooter Training in the Shoothouse (Alwes); Handgun
                                 Snatching (Albert Lee/Wilkie); ALERT Training - Civilian Response to Active
                                 Shooter Events (Instructor Certificate). Course taught: see below.
                               Hojutsu-Ryu Class, Phillipsburg NJ and Easton PA, taught by Soke Jeff Hall.
                                  Awarded brown belt (2016).
                               Colt .45/Model “O” (1911) Armorer Class, Colt’s Manufacturing Company,
                                 Ohio Peace Officers Training Academy, London, Ohio (2016). Certificate
                               2017 SHOT Show, Las Vegas, NV. Attended industry trade show.
                               Improving Tactical Performance by Enhancing Vision, SHOT Show Law
                                  Enforcement Education Program, Dr. Alan Reichow (2017)
                               Rangemaster Tactical Conference, Little Rock, AR (2017). Attended classes:
                                 Between a Harsh Word and a Gun (OC, Chuck Haggard); Church Security
                                 (Moses); Police-Citizen Contacts (Weems); Gun Accidents (J. Farnam); Just


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 54 of 160 PageID: 2414


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 17


                                 Enough Jitsu (Cecil Burch); Defining the Threat (T. Givens); Law of Self-
                                 Defense (A. Branca); The Firearms Instructor as Expert Witness
                                 (Ayoob/Hayes); Street Encounter Skills (Murphy).
                               2017 ILEETA Conference, St. Louis, MO. Attended courses: Deadly Force
                                 Panel of Experts (panelist, see below); Patrol Rifle Panel (panelist, see below);
                                 Tactical Duty Knife (Fletch Fuller); Six Myths of Motor Learning & How This
                                 Affects Your Training (Robert Bragg); Proxemics-Based Curriculum
                                 Development (Marie D’Amico); Facilitated After-Action Reviews (Joseph
                                 Willis): Camera-Friendly Compliance & Control Techniques That Work
                                 (Hetrick): “After Force Experience Beyond the Incident (Patrick Shaver); Pre-
                                 Indicators of An Assault (Mark Sawa).
                               2017 IALEFI Annual Training Conference, West Palm Beach, FL. Attended
                                 courses: The Pulse Nightclub Shooting; In-Extremis Advanced Tactical
                                 Handgun (Wes Dobbs); Police Shotgun (Mike Johnson); Officer Survival
                                 Mindset (Alex and Daniel Cobb); Bulletproof Mind (Lt. Col. Dave Grossman).
                                 Also attended industry trade show and hands-on product demonstrations.
                               2018 SHOT Show, Las Vegas, NV. Attended industry trade show, including
                                 Industry Day at the Range.
                               2018 ILEETA Annual Conference, St. Louis, MO. Attended trade show, and
                                 courses: Active Shooter Panel (panelist); Deadly Force Expert Panel (panelist);
                                 A Nearly Fatal Range Shooting (DuVernay); Recognizing & Responding to
                                 Mental Illness; Terminal Ballistics (Ed Santos); Threat Pattern Recognition (Joe
                                 Ferrera).
                               2018 IALEFI Annual Training Conference, Houston, TX. Attended trade show,
                                 and courses: Aurora, Colorado Theater Shooting; Basic Patrol Rifle
                                 Fundamentals (Pickering and French); Low Light Operations (J. Meyer);
                                 IADLEST National Certification Program; Reactive v. Precision Shooting (T.
                                 Fletcher); Officer Survival Mindset (Cobb); Dallas Sniper Incident & Mexican
                                 Drug Cartels (ATF).
                               FASTER Course, Rittman, OH. Chris Cerino & Andrew Blubaugh, Instrs. (2018)
                               Rangemaster Firearms Instructor Development & Certification Course, Xenia,
                                 Ohio, Tom Givens, Chief Instructor (2018)
                               Force Science Advanced Specialist Course, Force Science Institute, April-August
                                 2018. Course syllabus included required reading in three textbooks (on human
                                 movement, physical training and performance and reaction time; vision; and
                                 human error) and dozens of scholarly articles and research papers, lectures by
                                 several noted authors, doctors, scientists and professors; multiple oral and
                                 written presentations; teleconference and in-person classes; and formal written
                                 work, comprising in total several hundred hours of coursework at the graduate
                                 school level.
                               2019 SHOT Show, Las Vegas, NV. Attended industry trade show, including
                                 Industry Day at the Range.
                               “Police Misconduct” Continuing Legal Education Program (2/11/2019).
                               2019 NRA Convention, Indianapolis, IN. Attended industry trade show.
                               2019 IALEFI Annual Training Conference, West Palm Beach, FL: Attended
                                classes and presentations by Dr. William Lewinski (“Force Science Update”),
                                Don Alwes (“Active Shooter Response For Firearms Instructors”); Don Smith
                                (“Sniper Overwatch”); LouAnn Hamblin (“Active Shooter Handgun Training”).
                                Also attended industry trade show, helped conduct Handgun Safety Check, and


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 55 of 160 PageID: 2415


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 18


                                helped conduct Memorial Match. Class taught: see below.
                               “Preparing for an Armed Intruder,” Eastern University, St. Davids, PA (2019)
                               American Heart Association “Heartsaver First Aid CPR AED” Training
                                 Certification 12/8/2019
                               2020 SHOT Show, Las Vegas, NV. Attended industry trade show.
                               Active Shooter Response, Trexlertown, PA, March 2020. Thanos Milios, Lead
                                 Instructor. Classroom and reality-based training scenarios using Simunitions
                                 guns with role-players.
                               “Safely Engaging Psychopaths & Sociopaths,” Public Agency Training Council
                                  Webinar, April 2020.
                               “Police Response to Armed Suicidal Subjects,” Dr. Andrew T. Young, Instructor,
                                Public Agency Training Council - Webinar, June 23, 2020
                               Defensive Handgun 1, 2, 3 & 4, Marksmanship Matters (Larry Mudgett
                                Instructor), Lehi, Utah, July 2020
                               Defensive Handgun and Patrol Rifle, Defense Training International, John
                               Farnam, Instructor. Sussex, NJ, October 2020.
                               Certificate, DTI Urban Rifle. Certificate, DTI
                                 Instructor Update. (Assisted in instructing, see below.)
                               UTM Professional Training Organization (“PTO”) Certification Class.
                               Certificate (2020)
                               Glock Armorer’s Course – Update and Recertification (Smyrna, GA 2020)
                               IALEFI Virtual Training Conference, January 2021.
                               Metal-Tec Metal Detector Instructor Course. Certification 2021.
                               Principles of De-Escalation, Pennsylvania State Police (Sgt. Timothy Fetzer, Jan.
                               2021)
                               Realistic De-Escalation Instructor Course, Force Science Institute, Maplewood,
                                Minnesota. IADLEST-Certified Course, Certificate (2021)
                               “Officer-Involved Shootings: The Aftermath” (“I’ve Been In An Officer
                                Involved Shooting – Now What?” Instructor Laura Scarry, Esq. Webinar 2021
                                (Certificate)
                               Stop the Bleed Training, St. Luke’s Hospital, Easton, PA 2021 (Certificate)
                               ILEETA Annual Training Conference, St. Louis, MO (2021). The Neuroscience
                                of De-Escalation (Verplanck and Smarro, Instructors); Tactical Disadvantages
                                (Green); Risk Assessment (Horine); Small Unit Tactics for Active Shooter
                                Response (Scott Hyderkamp); Sharpening Your Agency’s Knife Program (Zane
                                Nickell); Surviving the Officer-Involved Shooting (Brian Gonzales); Robert
                                Peel’s Principles (Casavant); How to Use Personality Science to Enhance
                                Training (Kerry Mensior); What Excited Delirium is Not (Ellis Amdur);
                                Simulator Scenarios: Virtra, Milo, Ti Systems; Active Shooter Panel of
                                Experts (panelist and attendee); Deadly Force Panel of Experts (panelist
                                and attendee). Courses taught: see below.
                               Defensive Cane Course (“Introduction to Cane-Fu”), Powhatan, Virginia, Tom
                                Ashmore, Instructor. 2021 (Certificate)
                               IALEFI Annual Training Conference, Melbourne, FL. 2021 (Certificate)
                               “Legal Issues in Use of Force,” LLRMI (Legal & Liability Risk Management
                                Institute). Instructor: Jack Ryan, Esq. (2022)
                               IALEFI Annual Training Conference, Las Vegas, NV. 2022 (Certificate)
                                Attended classes on the Mandalay Bay Shooting (LVMPD); Single Officer
                                Vehicle Tactics (LVMPD); Unconventional Rifle Fighting Positions; FACES


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 56 of 160 PageID: 2416


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 19


                                 of Concealed Carry; NRA LE’s Creating a Red Dot Transition Program for
                                 Your Agency; Special Purpose Rifle Program (LVMPD); Gunshot Wound
                                 Trauma Care; Human Factors & Firearms Instructors (Sgt. Jamie Borden).
                                NRA Annual Conference, Houston, TX (2022). Attended industry trade show.
                                 Attended seminars: Training for Concealed Carry: Focusing on Developing
                                 Essential Skills (Jeff Gonzales); Evidence-Based Defensive Firearms
                                 Training: A Discussion for Instructors and Those Who Actually Train (John
                                 Correia).
                                Instructor Update, DTI Urban Rifle, Sussex, NJ (John Farnam, Instructor (2022)
                                SHOT Show, Las Vegas, NV (2023): Attended firearms/law enforcement
                                 industry trade show.
                                NRA Convention, Indianapolis, IN (2023). Attended firearms trade show;
                                 attended classes on Bulletproof Mind (Lt. Col. Dave Grossman); Myths of
                                 Concealed Carry (John Correia).
                                IALEFI Annual Training Conference, Houston, TX (2023). Attended classes
                                 on the Uvalde School Shooting (ALERRT); Red Dot Pistol Optic Instructor
                                 Training.
                                2023 Team One Network Instructor Conference, Fredericksburg, VA. Attended
                                 Presentations on new products, Reality-Based Training Scenarios (by Team One
                                 Network (Counter-Ambush); MILO electronic simulator; classes presented by
                                Tony Blauer (SPEAR system), Gary Klugiewicz (Vistelar); Kirk Hensley (Stress
                                Innoculation); John Weiss (History of Gunfighting). Class taught, see below.
                               Cane Fighting Refresher (tutorial), Tom Ashmore, Instructor, Powhatan, VA
                                (2023)

    PROFESSIONAL
    ASSOCIATIONS
    & MEMBERSHIPS:

                                American Bar Association (Member 1978-1997)
                                Association of the Bar of the City of New York (Member 1978-1998)
                                Pennsylvania Bar Association (Member 1994-2007, 2012-present)
                                Bar Association of Lehigh County (Member 1994-2007, 2012-present)
                                Pennsylvania Trial Lawyers Association (Member through 2004)
                                Association of Trial Lawyers of America (Member through 2004)
                                American Inns of Court (Member 2000-2007)
                                Barristers Inn, Allentown, PA (2012-present)
                                Muhlenberg College Board of Associates
                                National Rifle Association (Endowment Member)
                                International Association of Chiefs of Police (Associate Member 1985-1992)
                                International Association of Law Enforcement Firearms Instructors (see above)
                                Police Marksman Association (Member, Nat’l Advisory Board 1987-2004)
                                American Society for Industrial Security (Member)
                                Tactical Response Association (former Charter Member)
                                Justice System Training Association (former Member)
                                American Society of Law Enforcement Trainers (former Charter Member)
                                Outdoor Writers Association of America (Member 1987-1990)
                                U.S. Practical Shooting Association (former Member)
                                U.S. Revolver Association (Member 1983-1989)


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 57 of 160 PageID: 2417


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 20


                               Pennsylvania Chiefs of Police Association (former Associate Member)
                               Pennsylvania Sheriff’s Association (former Associate Member)
                               Appointed Senior Research Associate, Carnegie Mellon University Center
                                for the Advancement of Applied Ethics (1994)
                               Appointed to Advisory Board, AWARE (1995)
                               Appointed as Fellow, Defensive Handgun Training Institute (1996)
                               Appointed to Pennsylvania Municipal Police Officers Education and Training
                                Commission Committee to develop standards and curriculum for decision-
                                making training simulator/judgmental use of force mandatory in-service
                                training program (1997-98); Curriculum Development Committee for
                                revision of Act 120 Police Academy curriculum used statewide; patrol rifle
                                training standards (2004- ); revision of Act 120 Police Academy lesson
                                plans, training videos, and related materials used at all police academies in PA
                                (2015); and development of Mandatory In-Service Training Program on “Use
                                of Force” (2015 development for 2016 presentation statewide) .
                               National Tactical Officers Association (former and current Member)
                               Associate Member, Fraternal Order of Police (Linton, Indiana Chapter 2008-12)
                               Member, International Law Enforcement Educators and Trainers Association
                               (2009 -      )
                               Member, Advisory Board, Armed Citizens Legal Defense Network (2012 - )
                               Member, Leadership Group, Safe Team, Faith Church, Trexlertown, PA (2017- )
                               Member, Security Committee, Temple Beth El, Allentown, PA (2019- )


    SELECTED MEDIA REFERENCES
    AND ACKNOWLEDGMENTS:

                               EMANUEL KAPELSOHN interviewed, mentioned and pictured in THE GUN
                                DIGEST BOOK OF COMBAT HANDGUNNERY by J. Lewis and J.
                                Mitchell (Northfield, IL 1983). Quote from p. 117:“His research and personal
                                experience in self-defense firearms training make [Kapelsohn] one of the most
                                qualified people in the business.”

                               EMANUEL KAPELSOHN interviewed on subject of firearms self-defense
                                on ABC Television show “What’s Up, America?” (1980 and re-run)

                               “Midland Park Hires Weapons Specialist,” The Sunday News (Ridgewood,
                                NJ. March 1984)

                               “Firearms Trainer to be Hired,” Suburban News (Wayne NJ. March 21, 1984)

                               “Midland Park Will Hire Firearms Pro for 9mm Courses,” The Northwest News
                                (Midland Park, NJ. March 22, 1984)

                               “Gun Expert Rated High,” The Sunday News (Ridgewood NJ. April 8, 1984)

                               “Crime Rise Has Women Taking Up Arms,” The Times (Trenton NJ.
                                March 10, 1985)



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 58 of 160 PageID: 2418


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 21


                               “Union Launches Training Program to Upgrade Skills for Police,” The
                                Star-Ledger (Newark, NJ. November 20, 1985)

                               Guest Instructor Appreciation Award, International Police Academy,
                                Master Instructor Seminar (1985)

                               “Gun Law Won’t Stop Terrorists,” The Times (Trenton, NJ. May 20, 1986)
                               “Expert Hits Police Training,” The Lawrence Ledger (Lawrenceville, NJ.
                                October 24, 1986)

                               “Lawrence Resident’s Love of Firearms Becomes Career,” The Star-Ledger
                                (Newark, NJ. December 12, 1986)

                               “Committee Takes Aim at Detector-Proof Guns,” The Star-Ledger (Newark, NJ.
                                December 12, 1986)

                               “Gun Lobbyists Oppose Passage of Bill to Ban Non-Metal Guns,” The Times
                                (Trenton, NJ. December 12, 1986)

                               “Plastic Gun Bill Demolished by Expert’s Testimony,” NRA Monitor
                                (Washington, D.C. Vol. 14, No. 1 January 15, 1987)

                               “Detection Systems, Not Guns Should Be Focus of Legislation, Says Firearms
                                Expert,” NRA Monitor (Washington, D.C. Vol. 14, No. 3 February 15, 1987)

                               “Using Training Consultants” by Bill Clede, Law and Order (March 1987)

                               “Taking Humanistic Approach to Firearms,” Newsday (New York, NY.
                                July 20, 1987)

                               “New Yorkers Learn to Protect Themselves at Gun School,” The New York
                                Times (New York, NY. July 20, 1987)

                               “Citizens Learn to Shoot in Face of Crime,” The Sun (Melbourne, Australia.
                                August 1, 1987)

                               “New York’s Itchy Trigger Finger,” The Advertiser (South Australia.
                                July 31, 1987)

                               “Bill Banning Plastic Guns Debated,” (Associated Press AAA wire release
                                under this or similar title, July 28, 1988, describing Emanuel Kapelsohn’s
                                Senate Judiciary Committee subcommittee testimony, printed on July 29 in
                                hundreds of U.S. newspapers, including the following:

                                       Alexandria, LA Daily Town Talk
                                       New Haven, CT Register (continued, next page)
                                       Dayton, OH News/Journal Herald
                                       Wilmington, NC Star
                                       Cheyenne, WY Eagle


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 59 of 160 PageID: 2419


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 22


                                      Delaware, OH Gazette
                                      August, GA Herald
                                      Bennington, VT Banner
                                      Johnstown, PA Tribune-Democrat
                                      Erie, PA News
                                      Lynchburg, VA News and Daily Advance
                                      Bluefield, WV Telegraph
                                      Mattoon, IL Journal-Gazette
                                      Casper, WY Morning Star Tribune
                                      Belleville, IL News-Democrat
                                      Newark, OH Advocate
                                      Anchorage, AK News
                                      Kenton, OH Times
                                      Canton, OH Repositor
                                      Waterbury, CT American
                                      East Liverpool, OH Review
                                      FT. Walton Beach, FL Playground News
                                      Vero Beach, FL Press-Journal
                                      Modesto, CA Bee
                                      Vallejo, CA Times-Herald
                                      Newport News, VA Times-Herald
                                      Marysville, OH Journal-Tribune
                                      Paducah, KY Sun
                                      Toms River, NJ Observer
                                      Springfield, OH News-Sun
                                      Logan, OH News
                                      Piqua, OH Call
                                      Lawton, OK Press
                                      San Diego, CA Union

                               “Witness Upstages Metzenbaum at Hearings,” Gun Week (Buffalo, New York.
                                August 14, 1987)

                               “Neal Knox Report: Gun Bills Moving,” Shotgun News (Hastings, NE.
                                September 1, 1987)

                               “Kapelsohn Gets September Gun Rights Defender Award,” Point Blank
                                (Bellevue, WA September 1987)

                               “Firearms Expert Wins Person of the Month,” NRAction (Washington, D.C.
                                September 1987)

                               Selecting the Police Pistol by Doug Wicklund, The American Rifleman
                                (December 1987)

                               Mesa, Arizona: The IALEFI Convention by Tony Lesce, Arizona Police Officer
                                (Phoenix, AZ Winter 1988)

                               International Association of Law Enforcement Firearms Instructors Seventh


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 60 of 160 PageID: 2420


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 23


                                Annual National Training Conference by Chris Pollack, Special Weapons and
                                Tactics (March 1988)

                               Modern Techniques of Defensive Pistolcraft: An Exceptional Handgun Course
                                Taught by John Farnam and Emanuel Kapelsohn by Barrie Bergman,
                                Practical Shooting International (Emmetsburg, IA. March 1988)

                               “Hughes Goes Private With Hearing Witness,” Gun Week (Buffalo, NY.
                                January 8, 1988)

                               “ ‘Plastic Gun’ Ban Brewing,” NRAction (Washington, D.C. January 1988)

                               Gaping Holes in Airport Security by Peter Cary, U.S. News & World Report
                                (April 1988). Quote from page 28:

                                      “Emanuel Kapelsohn, a police weapons expert, astonished a
                                      congressional subcommittee by demonstrating how guns could be
                                      smuggled through certain metal detectors . . .”

                               Police Defensive Handgun Use and Encounter Tactics by Brian A. Felter
                                (Prentice-Hall, Inc. Englewood Cliffs, NJ 1988). Quote from p. 6:

                                      “In defensive firearms training today, the information and defensive
                                      instructors exist -- five of the most talented being Massad Ayoob,
                                      Ray Chapman, John Farnam, Emanuel Kapelsohn, and Chuck Taylor --
                                      and from a resource pool of defensive information that the law
                                      enforcement community must make use of.”

                               “U.S. Firearms Consultant Due Next Week,” Trinidad Guardian (Port of
                                Spain, Trinidad. July 16, 1988)

                               Shooting Schools: A Second Look by James L. Winter (Albany, New York
                                1985). Quote from page 92: “API’s staff includes such nationally famous
                                personalities as . . . writer Manny Kapelsohn.”

                               An Overview of the Police Marksman National Advisory Board by Brian
                                McKenna. The Police Marksman (September/October 1988). Professional
                                biography of Emanuel Kapelsohn

                               “Semiautomatics or 6-shooters?” by Ken Valenti. Gannett Westchester
                                Newspapers. (Westchester County, N.Y. January 15, 1989)

                               “Gun Control Opponents Lock Horns With Graves” by Donna Leusner
                                (The Star Ledger, February 7, 1989)

                               Interviewed on “Geraldo” (Geraldo Rivera Show) NBC television, March 6,
                                1989, on subject of gun availability and gun control.

                               Seek Out the Expert by Joseph J. Truncale, Ph.D., The ASLET Journal (January/


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 61 of 160 PageID: 2421


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 24


                                February 1989). Quote from p. 12:

                                      “If you wish to know more about guns and shooting, talk to those who
                                      are recognized experts in this area. Massad Ayoob, Ray Chapman, John
                                      Farnam, Emanuel Kapelsohn, Dennis Tueller, along with many others,
                                      can guide you to schools and programs which are well known for their
                                      professionalism.”

                               Glock by Sgt. Paul Palank. Blue Line Police Magazine (March/April 1989).
                                Quote from p. 24:

                                      “The success that we in Miami have had with the Glock pistol is due
                                      not only to the advanced design of the weapon, but the “state of the
                                      art” instruction provided by Glock Incorporated in the forms of
                                      Emanuel Kapelsohn (Peregrine Corporation) and Peter Tarley
                                      (Rockwell Corporation). The training provided by these gentlemen
                                      to the transitional training instructors superbly mated the Glock’s
                                      ingenious technology with their equally progressive training program.”

                               Glock Continues To Be An Innovator by E.B. Hulsey, Police Marksman
                                (March/April 1990). Quote from p. 58:

                                      “The instructor . . . was Emanuel Kapelsohn, who made the class a
                                      very interesting learning experience. Mr. Kapelsohn is an example of
                                      the quality instructors which Glock has retained to teach these courses.”

                               Glock Pistol: Perspective From The Field by Massad Ayoob. Guns
                                (September 1990). Quote from p. 77:

                                      “The best money you can spend on your Glock is for training. The firm
                                      retains Manny Kapelsohn, Peter Tarley, and Cathy and Jerry Lane for
                                      their police transition and armorer’s instruction programs . . . These
                                      are among the finest combat handgun trainers in America; Glock chose
                                      them well. I . . . believe that the superb training of these four master
                                      instructors has been more responsible for the Glock’s success in the field
                                      and in sales than most people realize.”

                               Emanuel Kapelsohn and Peregrine Corporation cited, quoted and acknowledged
                                in “Semi-Automatic Pistol Manual Safety Restrictions,” U.S. Border
                               (continued) Patrol Academy, Glynco, GA, presented at U.S. Marshal’s Service
                                Semi-Automatic - Revolver Handgun Symposium, Feb. 21-22, 1990. (Emanuel
                                Kapelsohn described as an “expert trainer” on p. 16.)

                               “Fearing Drug Wars, Suburban Police Swap 6-Shooters for Semiautomatics”
                                by B.J. Phillips. Philadelphia Inquirer (September 9, 1990)

                               Interviewed in “Entrevistas” column of Magnum. May-June 1991
                                (Caracas, Venezuela)



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 62 of 160 PageID: 2422


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 25


                               Peregrine Corporation training materials cited in published lesson plans of
                                Federal Law Enforcement Training Center (Glynco, GA) on semi-automatic
                                pistol training, clearing of pistol malfunctions, etc.

                               Emanuel Kapelsohn mentioned and quoted in study by Federal Law
                                Enforcement Training Center on instructor: student ratios for firearms training
                                (V. Atkins. Glynco, GA 1991)

                               Emanuel Kapelsohn and Peregrine cited as offering ‘a strong major in “how” and
                                a strong minor in “when” [to shoot] in “Deadly Force - When Is It Justified?”
                                by Massad Ayoob, Guns & Ammo’s Handguns for Home Defense, Vol. 9, No.
                                5 (1991)

                               “The Police Marksman Advisory Board” by Guy A. Rossi, Police Marksman
                                (Jan./Feb. 1992). “Innovator, tactician, expert . . . [Emanuel Kapelsohn is]
                                considered one of the country’s leading authorities on semi-automatic,
                                long gun and submachine gun training . . .”

                               “IALEFI’S ATC” by Chris Pollack, SWAT (May 1993)

                               Appreciation Award, Calgary Police Service Tactical Unit (1993)

                               Appreciation Award, International Association of Law Enforcement
                                Firearms Instructors (“for your dedication, time and personal effort
                                towards the development of the Firearms Training Standards”) (1993)

                               “Newsclippings,” The Firearms Instructor, Issue 13 (1994)

                               “Shotgun Key In Acquittal of Garron,” Atlantic City Press, Nov. 13, 1994.
                                Quote:

                                       “They found the weapon’s safety device could disengage if it was
                                       merely brushed -- just as Emanuel Kapelsohn, the defense firearms
                                       expert, had testified, the jurors said.”

                               Glock, The New Wave in Combat Handguns by Peter Kasler (Boulder, CO
                                1992), page 296.

                               Acknowledged in Stealth (1989) and Extreme Prejudice (1991) by Guy
                                Durham (Putnam, New York)

                               Acknowledged in The Street Smart Gun Book by John Farnam (Police
                                Bookshelf, 1986)

                               Acknowledged in Handgun Stopping Power, The Definitive Study by Evan
                                Marshall and Ed Sanow (Paladin Press, Boulder 1992)

                               Acknowledged in The Farnam Method of Defensive Handgunning by
                                John S. Farnam (Seattle 1994): “These are the ones who have advanced


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 63 of 160 PageID: 2423


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 26


                                the art and prepared it to be passed to the next generation: Manny
                                Kapelsohn . . .”

                               “Modern Training, The Professional’s Edge” by Michael J. Scanlan,
                                Protection News, Vol. 11, No. 2 (Fall 1995), Internat’l Foundation of
                                Protection Officers, Bellingham, WA. Quote: “Manny Kapelsohn’s
                                obvious enthusiasm along with his vast knowledge of the subject
                                matter and genuine interest in imparting that knowledge to us,
                                stimulated our interests, motivated us to excel and created a learning
                                environment for the entire class.”

                               “Post-Training Dry Drills” by Det. Bill Kaiser, The Firearms Instructor,
                                Vol. 17 (1995)


                               “IALEFI 1995 Training Conference” by C. Pollack, The Firearms Instructor,
                                Vol. 17 (1995)

                               “Gun Control and Economic Discrimination: The Melting Point Case-In-Point”
                                by Markus Funk, 85 Journal of Criminal Law & Criminology 764-806
                                (Northwestern U. School of Law, 1995): Emanuel Kapelsohn cited repeatedly
                                throughout article.

                               “IALEFI ‘95 Annual Training Conference” by C. Pollack, SWAT (June 1996)

                               “Search for qualified firearms instructor didn’t last very long,” Reading Eagle,
                                April 20, 1997, p. B1

                               “Sheriff, deputies begin targeting weapons training,” Reading Eagle,
                                April 20, 1997, p. B1

                               “Professional Firearms Instruction for the Protective Specialist” by Mike
                                Scanlan, Executive OPS International (Dec. 1997). Quote: “ . . . I contacted
                                Manny Kapelsohn, the world class firearms instructor and IALEFI Vice
                                President.”

                               Item in Business “Players,” Allentown Morning Call, January 4, 1999.
                                 Quote: “Emanuel Kapelsohn of Bowers has been re-elected as Third Vice
                                 President of the International Association of Law Enforcement Firearms
                                 Instructors.”

                               “Kapelsohn is Re-Elected by Police Association,” Allentown Morning Call,
                                December 30, 1999.

                               “Degree of Guilt Decided for Smith,” The Inquirer, Philadelphia,
                                July 30, 1998, p. B1

                               Appreciation Award from Pennsylvania Municipal Police Officers’ Education &
                                Training Commission, for “outstanding contribution” toward the development,


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 64 of 160 PageID: 2424


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 27


                                from 1997-1999, of the Commission’s new Use of Force - Judgmental Training
                                Program.

                               “Police Shooting Headed to Jury,” New Haven Register, March 9, 2000.
                                Quote: “Standing before a rapt jury, Kapelsohn demonstrated a number of
                                stabbing and slashing techniques with the small knife, narrating as he
                                did so.”

                               Emanuel Kapelsohn and The Peregrine Corporation cited and acknowledged
                                numerous times in Commonwealth of Pennsylvania firearms training
                                curriculum for Basic Police Academy Course taught at police academies
                                throughout the state (2000).

                               “MPOETC Conducts Firearms Instructor Training Seminar,” Pennsylvania
                                MPOETC Newsletter, Vol. 23, Issue 2, Sept. 2000. Quote: “The lead
                                instructor for the seminar was Emanuel Kapelsohn, a nationally recognized
                                firearms instructor and use of force expert.”

                               “Experts Claim Wife Grabbed Accused’s Gun,” by William Doolittle, Pocono
                                Record, November 28, 2000. “…Emanuel Kapelsohn, an Allentown attorney
                                and firearms expert, argued that a crescent of black residue pictured on the back
                                of Rhonda Kammer’s hand was caused by discharge from the cylinder gap of
                                the .38 caliber revolver used in the killing. … Kapelsohn said pictures of the
                                woman’s hand showed marks on her hand that “could not have been produced
                                by the muzzle blast.”

                               Cited by Lt. Col. David Grossman as “an awesome warrior-trainer-lawyer” in
                                publication of his national e-mail network on subject of involuntary muscular
                                contraction (2002).

                               Recipient, City of Allentown Proclamation (commendation) for participation on
                                Advisory Board of University of Pennsylvania (FICAP/MPAP) study on
                                reducing gunshot injuries and deaths (2002)

                               “New Trial Ordered for Officer Convicted in a Suspect’s Death,” The New York
                                Times, October 18, 2002.

                               “Pa. Court Rejects Appeal by Ex-Teacher,” by William Doolittle, Pocono
                                Record, December 14, 2002. “During the trial, Emanuel Kapelsohn testified as
                                a crime scene and firearms expert. The Superior Court said, “The record
                                contains abundant evidence from which the trial court could conclude that
                                Kapelsohn had reasonable pretension to specialized knowledge about
                                reconstruction of the scene of a crime involving a firearm.”

                               Commonwealth of Pennsylvania v. Youngken, 2002 WL 32351935,
                                Pennsylvania Superior Court, December 5, 2002: “Clearly the qualifications of
                                Mr. Kapelsohn indicate that the trial court did not abuse its discretion in
                                qualifying him as an expert witness in firearms and crime scene reconstruction
                                involving firearms.”


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 65 of 160 PageID: 2425


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 28



                               Teaching Women to Shoot by V. Farnam and D. Nicholl (Copyright 2002,
                                Boulder, CO). Emanuel Kapelsohn quoted and cited extensively on pages 46-
                                47 on subjects of trigger finger placement, covering suspects at gunpoint, and
                                accidental discharges of firearms.

                               Acknowledgement in Training at the Speed of Life: The Definitive Textbook for
                                Military and Law Enforcement Reality Based Training, by Kenneth R. Murray
                                (2004): “Special Thanks to my Technical Editor, Emanuel Kapelsohn: Scholar,
                                Trainer, and Friend. Thank you for your patience, fine eye, tireless effort,
                                boundless knowledge, and dedication to detail.”

                               “Sharpton: Monroe Shooting an ‘outrage,’” Allentown Morning Call, April 22,
                                2004.

                               “Independent Investigator Looking Into Fatal Shooting,” Pocono Record, April
                                23, 2004.

                               “Shooting scrutinized by victim’s family,” Pocono Record, April 23, 2004.
                                Quote: “Monroe County District Attorney David Christine has also appointed
                                Emanuel Kapelsohn, an Allentown attorney and weapons expert, to conduct an
                                Independent investigation into the shooting.”

                               The Concealed Handgun Manual by Chris Bird, 4th Ed., San Antonio, TX 2004.
                               Emanuel Kapelsohn acknowledged in Introduction (p. ix) and on p. 352.

                               “Strategies for Safer Weapons Training and Use,” David Olsen, Law
                               Enforcement Technology, Jan. 2004, pp. 52-60.

                               “Two New Publications from IALEFI,” Police Marksman (Sept./Oct. 2004) p. 55
                               “Rethinking Gun Safety Rules Based on Accidental Discharges,” by Chris Bird.
                                GUN WEEK, Sept. 1, 2004, p. 6. “I outline his qualifications to show that
                                when Kapelsohn says something about firearms, he is worth listening to.”

                               “Safety Strategies for Realistic Firearms Training,” by Ken Murray. Police &
                               Security News, Vol. 21, Issue 1 (Jan./Feb. 2005). Emanuel Kapelsohn cited and
                               quoted extensively on safety-related issues.

                               “Consultants to study Easton SWAT Team,” The Morning Call, May 25, 2005
                               (Allentown, PA). “The city two weeks ago retained Emanuel Kapelsohn, a
                               nationally recognized firearms expert and consultant …”

                               “Easton Hires Outsiders for Police Policy Review,” by E. Sieger, The Express-
                               Times, Easton, PA, May 25, 2005. “The city has hired attorney and firearms
                               expert Emanuel Kapelsohn to help the police department develop firearms
                               policies and procedures.”

                               “Police Get Good News in Report,” by E. Sieger, The Express-Times, Easton,
                               PA, July 15, 2005. “In May, the city hired attorney and firearms expert


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 66 of 160 PageID: 2426


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 29


                               Emanuel Kapelsohn to help the police department develop firearms policies
                               and procedures.”

                               “More First Hand Information,” The Gun Zone,
                                http://thegunzone.com/ayoob/magliato-kapelsohn.html. Comments on the
                                Magliato case.

                               CNN “Paula Zahn Now” Show, August 8, 2005. Emanuel Kapelsohn
                               interviewed in segment on civilian intervention tactics in armed robberies.

                               “Victim of Stray Shot Thinks Allentown’s Still Safe,” by S. Kraus, The Morning
                               Call, August 18, 2005. “Ballistics expert Emanuel Kapelsohn …”

                               “Dead Man’s Family Waits for Ruling in Drug Bust Shooting,” by E. Mark,
                               Pocono Record , August 13, 2005. “[District Attorney] Christine appointed
                               Emanuel Kapelsohn, an Allentown attorney and ballistic expert, as an
                               independent investigator to look into Wright’s death.”

                               “Wright Shooting Justified, DA Says,” by E. Mark, Pocono Record, 9/16/05

                               “Fatal Shooting Justified, Monroe DA Says,” by J. McDonald, The Morning
                               Call, September 16, 2005. “The decision, announced Thursday by District
                               Attorney E. David Christine, Jr., was based in part on a recently completed
                               report by an Allentown attorney who is a firearms expert. “Barron Wright’s
                               death, while regrettable, resulted from his own actions in defying the agents’
                               commands, resisting arrest, and attempting to escape by driving his vehicle in
                               a manner that placed everyone around him in deadly danger,” said Emanuel
                               Kapelsohn, with the Allentown office of Blank Rome.”

                               “Easton Officer Loses Handgun,” by Tracy Jordan, The Morning Call, Nov. 24,
                               2005. “The city is waiting for a fourth report on the department’s firearms
                               procedures from [E]manuel Kapelsohn, a nationally recognized firearms expert
                               and consultant who practices law with Blank, Rome, Comisky and McCauley in
                               Allentown.”

                               “Report says Easton violated own gun policies,” by Tracy Jordan, The Morning
                               Call, Jan. 20, 2006.

                               “Police Seek Answers in Deadly Shooting,” by Brian McNeill, Connection
                               Newspapers (Fairfax County, VA), February 9, 2006.

                               “Woman Questions Police Role in Husband’s Shooting Death,” by John Boyle,
                               Citizen-Times, West Asheville, NC, March 5, 2006.

                               “Findings Expected in Probe of Officer’s Death,” by Joe McDonald, The
                               Morning Call, March 22, 2006.

                               “No Charges in Shooting; Easton Police Slammed,” by Joe McDonald, The
                               Morning Call, March 23, 2006. “... [Captain] Gibiser said corrective steps have


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 67 of 160 PageID: 2427


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 30


                               been taken based on recommendations from a study done by Allentown lawyer
                               and firearms expert Emanuel Kapelsohn.”

                               “Mother Sues Attorney General’s Office in Son’s Death,” by Joe McDonald, The
                               Morning Call, April 8, 2006.

                               “Getting More Bang – Harlingen Police Department Upgrading Firepower,” by
                               Joann Deluna, Valley Morning Star, May 8, 2006.

                               “Expert Defends Police Shooting,” by Jason Cato, Tribune-Review, August 10,
                               2007.

                               “Firearms Expert: Cop Justified for Use of Lethal Force,” by Jason Cato, Valley
                               Independent, August 10, 2007.

                               “Former Officer Recounts Shooting,” by Christine Haines, Herald Standard,
                               August 10, 2007.

                               Consultant and guest presenter, “Conspiracy Theory” TV program for The
                               Discovery Channel on the assassination of Martin Luther King, Jr.; aired
                               several times during September 2007 and thereafter.

                               “’08 Revelers Are Warned to Hold Fire” by Laurie Lucas, The Press-Enterprise,
                               Riverside, CA, December 31, 2007, quoting Emanuel Kapelsohn, “a nationally
                               recognized firearms expert.”

                               The Concealed Handgun Manual by Chris Bird, 5th Ed., San Antonio, TX 2008.
                               Emanuel Kapelsohn and The Peregrine Corporation cited as a recommended
                               source for firearms training.

                               “Lawyer: Troopers Justified in Shooting” by Joe McDonald, The Morning Call,
                               Allentown, PA, November 23, 2008.

                               “Shootings Remind Police Officers of Dangers They Face,” by Jacqueline Koch,
                               Chattanooga Times Free Press, July 21, 2009.

                               “Excessive Force Use Questioned in Fatal Shooting,” by Jacqueline Koch,
                               Chattanooga Times Free Press, August 5, 2009.

                               “Manny Kapelsohn: Officer Involved Shootings,” interview by Betsy Brantner-
                               Smith on PoliceOneTV (www.policeone.com). Premiered November 2, 2009.

                               “Armed and Ready” by Michael Malik, Bloomington, Indiana Herald-Times,
                                November 29, 2009.

                               “Vest saves officer from injury after shooting” by Rachel Cook, Idaho Falls Post
                                Register (June 18, 2011)

                               “Officers, news reporters try their hands at police scenario simulators, by Laura


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 68 of 160 PageID: 2428


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 31


                                 Lane, Bloomington Herald –Times, Bloomington, IN (July 7, 2011). Opening
                                 sentence: “Manny Kapelsohn saw an opportunity for rural law enforcement
                                 officers to experience sophisticated firearms training at no cost …”

                               “County law officers receive specialized firearm training at no cost,” Greene
                                County Daily World (July 7, 2011).

                               Glock: The Rise of America’s Gun by Paul Barrett (2012), pp. 53-59.

                               “Top Gun,” THE WEEK, March 9, 2012. Article cites and quotes E. Kapelsohn

                               “Linton Police Department’s Citizens Academy gives participants a chance to
                               experience crime-fighting techniques” by Lisa Trigger, TribStar.com, 4/01/2012

                               “Kapelsohn Joins Network Advisory Board,” ACLDN Journal, December 2012

                               “Training for a Shootout: How High-Tech Simulations Are Enhancing
                               Emergency Response,” by Nate Rawlings. TIME Magazine, Time U.S., January
                               1, 2013.

                               “Banning Assault Weapons Won’t Make Nation’s Schools Safer,” Opinion
                               Editorial by E. Kapelsohn, MORNING CALL, January 6, 2013.

                               E. Kapelsohn a panelist on “Business Matters,” Channel 69 (Allentown, PA),
                               February 4, 2013. Show about active shooters, assault weapons, and legislation.

                               “Adam Lanza’s Arsenal,” by Benjamin Wallace-Wells, NEW YORK magazine,
                               February 11, 2012. E. Kapelsohn featured and quoted in the article.

                               “Report details how FBI agent Barry Bush died in friendly-fire shooting,” by
                               Doug Brill, EXPRESS TIMES LehighValleyLive.com, March 7, 2013. E.
                               Kapelsohn quoted.

                               “Pittsburgh Police Bullets Not Lacking in Power, FBI Test Shows,” by M.
                               Harding. Pittsburgh Tribune-Review, April 23, 2013. E. Kapelsohn quoted.
                               E. Kapelsohn guest co-host on ESPN-LV radio show, “The Water Cooler,”
                               Sept. 22, 2013. Broadcast from Easton, PA on 1230 and 1320 AM. Topics
                               included the Washington Navy Yard Shooting, what to do in an active shooter
                               situation, and assuming responsibility for one’s own personal safety.

                               E. Kapelsohn mentioned in “Why Are Police Shootings of Innocents on the
                               Rise?” by Steven Yoder, The American Prospect magazine, October 31, 2013

                               “City of Pittsburgh Police Are Waiting for New Ammo,” by Margaret Harding.
                               Pittsburgh Tribune-Review, Feb. 23, 2014. E. Kapelsohn quoted.

                               “Surge in gun sales subsiding in Lehigh Valley region,” by J. Sheehan. The
                               Morning Call, Allentown, PA. March 17, 2014. E. Kapelsohn quoted



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 69 of 160 PageID: 2429


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 32


                               “Experts Differ on Path of bullet; Closing Arguments Today in Bonacci Murder
                               Trial,” by Rebekah Brown, thetimestribune.com, May 8, 2014

                               “Attorneys Offer Conflicting Views of the Man Accused of Killing Frank
                               Bonacci,” thetimestribune.com, May 9, 2014

                               “Murder Trial Testimony Ends,” by Stacy Lange, WNEP.com, May 7, 2014
                               “Closing Arguments set for Tuesday in Arundel road-rage Murder Case,” by
                               Pamela Ward, The Baltimore Sun, July 28, 2014.

                               “Experts Give Differing Opinions in Road-Rage Murder Trial,” by Tim Pratt,
                               CapitalGazette.com, July 29, 2014.

                               “Troubling Times for Pa. State Police,” by Jessica Parks, Philadelphia Inquirer,
                               October 5, 2014. E. Kapelsohn quoted.

                               “State police struggle in dealing with multiple crises,” by Jessica Parks, The
                               Morning Call, October 6, 2014.

                               “Jury Finds Connellsville man not guilty in fatal shooting of his cousin,” by
                                Susan Kelly, Herald-Standard, December 11, 2014. E. Kapelsohn quoted
                                extensively.

                               “No Charges for Milwaukee Officer Who Shot Man 14 Times,”
                                www.USAToday.com, December 22, 2014, Aamer Madhani

                               “Milwaukee Officer Won’t Face Charges for Killing Mentally Ill Man,”
                                UPI.Com, December 22, 2014, Frances Burns

                               “Former Milwaukee Police Officer Won’t Be Charged,” www.NYTimes.com,
                                Monica Davey, December 22, 2014. Emanuel Kapelsohn cited as “a leading
                                expert on use-of-force reviews.”

                               “Building a case for Lisa Mearkle: Did she have reasonable cause to fear for her
                               life?” by Ivey DeJesus, March 25, 2015. E. Kapelsohn quoted extensively.

                               “Deadly Force: Police who kill rarely face criminal charges; Hummelstown case
                               is rare,” by Ivey DeJesus, March 27, 2015.

                               “OIS Question: Is a “non-threatening” gun really non-threatening?” Force
                               Science News #279, April 2015.

                               “When Chicago Cops Shoot,” by Steve Bogira, Chicago Reader, May 20, 2015.
                               “15 Ways The iPhone Gun Case Could Go Very, Very Wrong,” by Tara Haelle,
                               Forbes, http://www.forbes.com/sites/tarahaelle/2015/07/08/15-ways-the-iphone-
                               gun-case-could-go-very-very-wrong/

                               “Beachgoer discovers gun-replica phone case ‘not a smart idea’” by Katie May,
                                Winnipeg Free Press, August 12, 2015.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 70 of 160 PageID: 2430


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 33



                               Emanuel Kapelsohn interviewed on “Morning Wave in Busan,” Radio FM 90.5,
                               Busan, South Korea, on subjects of firearms safety and firearms laws,
                               October 5, 2015.

                               “Questions Linger After Police Shooting in Chester” by Caitlin McCabe,
                               Philadelphia Inquirer and philly.com, February 21, 2016.

                               “Defendant testifies in Manchester rep men case,” by Heather Mongilio, Carroll
                               County Times, May 19, 2016.

                               “Pulse Families Get Some Answers from Autopsies,” Orlando Sentinel, August
                               5, 201. (also see Sun Sentinel Broward Edition, 8/6/16; 90.7 WMFE radio
                               interview by Abe Aboraya, and other extensive media coverage.)
                               “Forensics experts: Rubber bullet did not kill protester Justin Carr,” The
                               Charlotte Observer, by Michael Gordon, et al., November 18, 2016.

                               “CMPD officer was cleared in Keith Lamont Scott shooting, but will it still cost
                               the city?” by Fred Clasen-Kelly, charlotteobserver.com, December 6, 2016. E.
                               Kapelsohn quoted and cited as expert on police use of force.

                               “Good Samaritan Kills Active Shooter in Texas Sports Bar: Police” by Phil
                               McCausland, NBCNews.com, May 4, 2017, 10:20 p.m. ET.

                               “Yanez takes stand, ‘I thought I was going to die’ during confrontation with
                               Castile,” C. Xiong, et al., Star Tribune, June 10, 2017.

                               “Case file in Philandro Castile shooting to be made public; family intends to
                                Sue,” B. Stahl, Star Tribune, June 20, 2017 (“She said the most believable
                                witness was Emanuel Kapelsohn …”)

                               “Police Training Experts Testify in Philip Brailsford Trial,”
                               www.abc15.com/news, November 28, 2017.

                               “Prosecution rests: defense of ex-Mesa cop begins,” azfamily.com. November
                               27, 2017.

                               “Attorney for ex-Mesa police officer Philip Brailsford,” amp.azcentral.com,
                               September 8 and September 9, 2016.

                               “Expert witness for prosecution: Brown Deer officer was not justified in
                               shooting, wounding of man,” A. J. Bayatpour, Fox6News.com, Feb. 14, 2018.

                               “Attorneys present opening statements in trial of Brown Deer officer accused of
                               shooting suspect,” Peter Zervakis, MJMJ TV Milwaukee, Feb. 14, 2018.

                               “Brown Deer officer on trial for 2016 shooting of bus passenger,” Bruce
                               Vielmetti, Milwaukee Journal Sentinel, Feb. 12. 2018.



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 71 of 160 PageID: 2431


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 34


                               “State’s expert says Brown Deer officer not justified in shooting unruly bus
                               passenger on ground,” Bruce Vielmetti, Milwaukee Journal Sentinel, Feb. 14,
                               2018.

                               “Brown Deer officer charged in shooting,” Gina Barton and Ashley Luthern,
                               Milwaukee Journal Sentinel, October 21, 2016.

                               “Police use-of-force expert: Rialmo was right to shoot LeGrier,” by Sam
                               Charles, chicago.suntimes.com/news/police-use-of-force-expert, 6/22/2018.

                               “Chicago cop justified in shooting bat-wielding teen, use of force expert
                               testifies,” by Dan Hinkel, www.chicagotribune.com/news, 6/22/2018.

                               “Police use of force expert testifies in Quintonio Legrier wrongful death case,”
                               by Leah Hope, http://abc7chicago.com/3638265/. 6/22/2018.

                               http://www.nbcchicago.com/news/local/Use-of-Force-Expert-Testifies-in--
                               486326581.html

                               https://wgntv.com/2018/06/22/defense-witness-says-rialmos-use-of-force-was-in-
                               line-with-standards/

                               “Noor trial: Rusczyk silent before shot; closing arguments Monday,” MPR News,
                               Minneapolis, April 26, 2019.

                               “Two Minnesota police shooting trials, two very different verdicts,” by Jon
                               Collins, MPR News, Minneapolis, May 1, 2019.

                               “Former Minneapolis police officer fund guilty in Justine Ruszcyk’s death,”
                               CNN, May 1, 2019.

                               “What we learned Friday in court at Mohamed Noor’s trial,” Minneapolis Star
                               Tribune, April 26, 2019.

                               “Don’t Shoot at the Sky! A Common-Sense Reminder After A Stray Shot Hits
                               Boy at IronPigs Game,” by Steve Novak, Lehighvalleylive.com, July 30, 2019.

                               “Ugly racism: Full acquittal in fatal Pittston Shooting,” Patrick Kernan, Times
                               Leader, October 5, 2018.

                               “CMPD Shooting is legally justified, some experts say, but raises ‘serious
                               questions,’ ” by Ames Alexander, Charlotte Observer, April 15-16, 2019.

                               “For Years, CMPD has pledged improved training. It hasn’t been enough,” by
                               Fred Clasen-Kelly, James Webster, Ames Alexander, and Danielle Chemtob,
                               Charlotte Observer, April 16, 2019.

                               “Jonathan Roselle, former South Whitehall officer, charged in shooting, takes
                                stand; expert witnesses defend his actions,” Michelle Merlin, The Morning Call,


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 72 of 160 PageID: 2432


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 35


                               March 18, 2020. E. Kapelsohn cited and quoted.

                               “Police Training Expert Says ‘I Can’t Breathe’ Resolution Is Redundant Under
                               MPD Policy, Others Disagree,” by Bryan Polcyn, Fox6Now.com, June 16, 2020.

                               “What Milwaukee Police Policies Really Say (and Why It Matters)” by Amanda
                                St. Hilaire, Fox6Now.com, June 22, 2020.

                               “Use of Force Expert Gives His Take on Video Showing Officer Kneeling On
                               Man in Allentown,” by Bo Koltnow, Lehigh Valley Regional News, July 13,
                               2020.

                               “The Devil You Know” TV Episode 2021, regarding the Barbara
                                Rogers/Stephen Mineo incident, episode aired Apil 26, 2021.

                               “Man Paralyzed in Accidental Shooting in Poconos Reaches $5.5 Million
                                Settlement,” by Hannah Phillips, Pocono Record, September 14, 2021.

                               “Grand Rapids Officer Charged with Careless Gunfire Wants Case Thrown Out”
                               by Susan Samples, Target 8 News, Grand Rapids, posted Jne 16, 2022, 8:18 p.m.
                               EDT. And TV: New at 6: Target 8 Investigates, Newsclip: Officer Greg Bauer.

    PARTIAL LIST OF
    FIREARMS-RELATED
    PUBLICATIONS:

                               SWAT TEST THE DETONICS MC-2 .45 AUTO by Emanuel Kapelsohn,
                                Survival Weapons and Tactics (SWAT) (October 1983)

                               TEST & EVALUATION: COLT “GOV’T” .380 AUTO by Emanuel Kapelsohn,
                                Survival Weapons and Tactics (SWAT) (March 1984)

                               BUCKSHOT PATTERNS: THE MYTH/THE REALITY by Emanuel
                                Kapelsohn, Survival Weapons and Tactics (SWAT) (March 1984)

                               TEST & EVALUATION: IVER JOHNSON .380 AUTO by Emanuel
                                Kapelsohn, Survival Weapons and Tactics (SWAT) (March 1984)

                               BEST BUY” OUT-OF-THE-BOX POCKET .45 by Emanuel Kapelsohn,
                                Survival Weapons and Tactics (SWAT) (June 1984)

                               WINCHESTER’S WINNING RIOT SHOTGUN by Emanuel Kapelsohn,
                                Special Weapons (Fall 1984)

                               TEST AND EVALUATION: STEYR GB 9mm SEMIAUTOMATIC PISTOL
                                by Emanuel Kapelsohn, Survival Weapons and Tactics (SWAT) (August 1984)

                               PRODUCT REPORT: HANSEN .22 RIMFIRE AMMUNITION by Emanuel
                                Kapelsohn, Survival Weapons and Tactics (SWAT) (August 1984)


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 73 of 160 PageID: 2433


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 36



                               FIELD TEST: STEYR GB 9mm PISTOL by Emanuel Kapelsohn, The Police
                                Marksman (May/June 1984)

                               SHOOTING THROUGH COAT POCKETS by Emanuel Kapelsohn, Survival
                                Weapons and Tactics (SWAT) (September 1984)

                                Note: The above article was also reprinted in part, and research results
                                summarized, in “Pocketing a Pistol Poses Problems for Your Officers,” by Bill
                                Clede, Training Aids Digest, Vol. 11 No. 12., Washington Crime News
                                Services (December 1986)

                               BUCKSHOT BREAKTHROUGH by Emanuel Kapelsohn, Survival Weapons
                                and Tactics (SWAT) (October 1984)

                               TEST & EVALUATION: KFC M-250 AUTOLOADING SHOTGUN
                                by Emanuel Kapelsohn, Survival Weapons and Tactics (SWAT)
                                (December 1984)

                               BALLISTIC AND RIOT SHIELDS by Emanuel Kapelsohn,
                                The Police Marksman (September/October 1984)

                               FIELD TEST: FEDERAL “PREMIUM” COPPER-PLATED BUCKSHOT
                                by Emanuel Kapelsohn, The Police Marksman (November/December 1984)

                               FIELD TEST: MANURHIN MODEL PPK/S .380 PISTOLS by Emanuel
                                Kapelsohn, The Police Marksman (Nov/Dec 1984)

                               RUGER MODEL 77/22: A RIMFIRE WITH CLASS by Emanuel Kapelsohn,
                                Survival Weapons and Tactics (SWAT) (April 1985)

                               FIRST IMPRESSIONS: RUGER XGI RIFLE by Emanuel Kapelsohn,
                                Survival Weapons and Tactics (SWAT) (April 1985)

                               THE AMAZING AUG by Emanuel Kapelsohn, Survival Weapons and Tactics
                                (SWAT) (June 1985)

                               FIELD TEST: COLT .45 OFFICER’S ACP by Emanuel Kapelsohn,
                                The Police Marksman (May/June 1985)

                               FIELD TEST: RUGER REDHAWK .41 MAGNUM REVOLVER
                                by Emanuel Kapelsohn, The Police Marksman (May/June 1985)

                               GETTING OUT OF A GUN JAM by Emanuel Kapelsohn, Soldier of Fortune
                                (July 1985)

                               HIGH-QUALITY, LOW-COST HANDGUN TRAINING AMMUNITION
                                by Emanuel Kapelsohn, The Police Marksman (July/August 1985)



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 74 of 160 PageID: 2434


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 37


                               POLISHING PUMP-GUN TECHNIQUE by Emanuel Kapelsohn,
                                Soldier of Fortune (October 1985)

                               FIELD TEST: PRO-SHOT TIMER AND PRO TIMER II by Emanuel
                                Kapelsohn, The Police Marksman (January/February 1986)

                               FIELD TEST: HECKLER & KOCH P7 M13 PISTOL by Emanuel Kapelsohn,
                                The Police Marksman (January/February 1986)

                               POLICE FIREARMS REQUALIFICATION: READY, AIM, FIRE?
                                by J. Maddaloni, Jr. and E. Kapelsohn, New Jersey Municipalities (Nov. 1985)

                               SHOTGUN PATTERNS, CHOKES, AND PERFORMANCE by Emanuel
                                Kapelsohn, The Police Marksman (September/October 1985)

                               LOW-LIGHT SHOOTING by Emanuel Kapelsohn, Soldier of Fortune
                                (April 1986)

                               SPRINGFIELD ARMORY’S “NEW” 1911-A1 PISTOL by Emanuel Kapelsohn,
                                Special Weapons and Tactics, (SWAT) (April 1986)

                               PROGRESSIVE FIREARMS TRAINING by Emanuel Kapelsohn,
                                Security Management (February 1986)

                               STEYR’S SPACE-AGE AUG by Emanuel Kapelsohn, Gun Digest Book of
                                Assault Weapons (Chapter 4) J. Lewis, Ed. (DBI Books, Northbrook, IL 1986)

                               THE GLOCK STRIKES by Emanuel Kapelsohn, Guns Magazine Annual Digest
                                (1987 Vol. 33)

                               U.S. LAW ENFORCEMENT VS. TERRORISM: PUTTING A LID ON
                                VIOLENCE BEFORE IT STRIKES by Emanuel Kapelsohn, Terrorism
                                (September 1986)

                               FIREARMS OWNERS PROTECTION ACT AFFECTS AUTOMATIC
                                WEAPONS OWNERSHIP AND INTERSTATE TRANSPORTATION OF
                                FIREARMS by Emanuel Kapelsohn, The Police Marksman (July/August 1986)

                               THE MAGNIFICENT GLOCK 17 PISTOL by Emanuel Kapelsohn, The Police
                                Marksman (September/October 1986)

                               BORN IN THE USA: COLT REINTRODUCES THE SMG by Emanuel
                                Kapelsohn, Soldier of Fortune (March 1987)

                               THE GLOCK 17 9mm PISTOL by Emanuel Kapelsohn, Law and Order
                                (October 1986)

                               POWER FROM A DISTANCE: COLT’S NEW COUNTER-SNIPER RIFLE,
                                THE DELTA H-BAR by Emanuel Kapelsohn, Police (February 1987)


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 75 of 160 PageID: 2435


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 38



                               COLT 9mm SMG by Emanuel Kapelsohn, Police (February 1987)

                               PREVIEWING COLT’S NEW DELTA H-BAR: THE AR-15 COUNTER-
                                SNIPER RIFLE by Emanuel Kapelsohn, Special Weapons and Tactics
                                (SWAT) (February 1987)

                               FIELD TEST: SPRINGFIELD ARMORY 1911-A1 PISTOL by Emanuel
                                Kapelsohn, The Police Marksman (January/February 1987)

                               IALEFI by Emanuel Kapelsohn, The Police Marksman (Jan./Feb. 1987)

                               COLT’S 10mm DELTA ELITE: MAGNUM POWER IN AN AUTOLOADER
                                by Emanuel Kapelsohn, Police (August 1987)

                               TRANSITIONAL HANDGUN TRAINING: SWITCHING TO SEMI-
                                AUTOMATICS by Emanuel Kapelsohn, Law Enforcement Technology
                                (May/June 1987)

                               1987 IALEFI NATIONAL TRAINING CONFERENCE SCHEDULED FOR
                                MESA, ARIZONA by Emanuel Kapelsohn, Law and Order (August 1987)

                               AN INSTRUCTOR’S LOOK AT DEA FIREARMS TRAINING by Emanuel
                                Kapelsohn, The Police Marksman (May/June 1988)

                               GLOCK 19: THE IDEAL 9mm FOR THE ONE GUN CONCEPT by Emanuel
                                Kapelsohn, The Police Marksman (September/October 1988)

                               RELOADING THE SEMI-AUTOMATIC PISTOL - PART ONE by Emanuel
                                Kapelsohn, International Association of Law Enforcement Firearms Instructors
                                Newsletter (February 1989)

                               COMBAT TEST: THE NEW GLOCK 20 by Emanuel Kapelsohn, Combat
                                Handguns (June 1990)

                               THE NEW 10mm GLOCK 20: MAGNUM POWER IN A DOUBLE-ACTION
                                SERVICE PISTOL by E. Kapelsohn, The Police Marksman (May/June 1990)

                               BERETTA 85F .380 PISTOL by Emanuel Kapelsohn, The Police Marksman
                                (November/December 1990)

                               THE UNIVERSAL COVER MODE, OR HOW TO NOT SHOOT PEOPLE
                                by Emanuel Kapelsohn, The Firearms Instructor (May 1991 and August 1991)

                               THE UNIVERSAL COVER MODE, OR HOW TO NOT SHOOT PEOPLE
                                by Emanuel Kapelsohn, reprinted in Newsletter of Georgia Association of
                                Law Enforcement Firearms Instructors, Vol. 1, Quarter 4 (Oct. 1991)

                               “Introduction to the Glock Pistol” videotape produced by The Peregrine


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 76 of 160 PageID: 2436


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 39


                                Corporation and featuring Emanuel Kapelsohn (48 mins., in police and
                                civilian versions) Glock, Inc., Smyrna, GA 1991

                               GLOCK PREVENTIVE MAINTENANCE MANUAL by Emanuel
                                Kapelsohn (Glock, Inc., Smyrna, GA 1991)

                               FIREARMS TRAINING STANDARDS FOR LAW ENFORCEMENT
                                PERSONNEL (IALEFI, Laconia, NH 1993). E. Kapelsohn, principal
                                author and editor

                               GIVING THE COMMAND TO HOLSTER by Emanuel Kapelsohn
                                The Firearms Instructor (Winter 1993)

                               STANDARDS & PRACTICES REFERENCE GUIDE FOR LAW
                                ENFORCEMENT FIREARMS INSTRUCTORS, E. Kapelsohn, Associate
                                Editor (IALEFI, Laconia, NH 1994)

                               SMITH & WESSON SIGMA by E. Kapelsohn, Law & Order (Oct. 1994)

                               GLOCK MODELS 26 & 27 SUBCOMPACT PISTOLS by Emanuel Kapelsohn,
                                Police Marksman (Nov./Dec. 1995)

                               IALEFI APPROVES ITS FIRST TARGET - THE IALEFI-Q by Emanuel
                                Kapelsohn, The Firearms Instructor, Vol. 17 (1995)

                               WHAT’S IN A TARGET? INTRODUCING THE IALEFI-Q by Emanuel
                                Kapelsohn, Police Marksman (May/June 1996)

                               P95: INTRODUCING RUGER’S FIRST POLYMER-FRAME SERVICE
                                PISTOL by Emanuel Kapelsohn, Police Marksman (July/August 1996)

                               P239: SIG’S NEW COMPACT 9mm PISTOL by Emanuel Kapelsohn,
                                Police Marksman (July/August 1996)

                               RAPID ACQUISITION TARGETING SYSTEMS LASER SIGHT
                                by Emanuel Kapelsohn, Police Marksman (July/August 1997)

                               “IALEFI Handgun Safety Check” videotape, written by and featuring
                                E. Kapelsohn, produced by North Carolina Justice Academy (IALEFI 1997)

                               IALEFI HANDGUN SAFETY CHECK booklet, Emanuel Kapelsohn,
                                principal author (IALEFI 1998)

                               FIELD TEST: SPEER GOLD DOT 125-GRAIN .38 SPECIAL AMMUNITION
                                by Emanuel Kapelsohn, Police Marksman (March/April 1998)

                               THE PATROLLER POLICE VEHICLE by Emanuel Kapelsohn,
                                Law & Order (March 1998)



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 77 of 160 PageID: 2437


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 40


                               FBI INSTITUTES NEW CONTROLS FOR SCENARIO TRAINING
                                by Emanuel Kapelsohn, The Firearms Instructor, Issue 26 (1999)

                               SAFETY TIP by Emanuel Kapelsohn, The Firearms Instructor, Issue 26 (1999)

                               FOR GUN SAFETY, STICK TO FOUR RULES, BUT WATCH OUT FOR
                                THE FOUR MYTHS by Emanuel Kapelsohn, Allentown Morning Call,
                                (October 22, 1999)

                               Handgun Shooting Fundamentals section, Basic Police Academy
                                curriculum lesson plan, Pennsylvania Municipal Police Officers
                                Education and Training Commission. Emanuel Kapelsohn, author (2000)

                               THE FIREARMS INSTRUCTOR’S RANGE BAG by Emanuel Kapelsohn,
                                The Firearms Instructor, Issue 29 (2000)

                               FIELD TEST: SIGARMS SSG3000 TACTICAL PRECISION RIFLE by
                                Emanuel Kapelsohn, Police Marksman (July/August 2000)

                               IALEFI Q-TARGET UPDATE by Emanuel Kapelsohn, The Firearms Instructor,
                                Issue 30 (2001)

                               PARA-ORDNANCE LDA PISTOL ARMORERS MANUAL (2001 and rev.)

                               PARA-ORDNANCE LDA FIREARMS INSTRUCTOR NOTEBOOK (2001)

                               KIMBER PISTOL ARMORER’S NOTES (2001)

                               KIMBER PISTOL INSTRUCTOR WORKSHOP NOTEBOOK (2001)

                               GUIDELINES FOR SIMULATION AND “FORCE ON FORCE” TRAINING
                                (Draft, IALEFI, Gilford, NH 2001). Emanuel Kapelsohn, principal author.

                               AVOIDING TRAINING DEATHS: SAFETY CONSIDERATIONS IN ROLE
                                PLAYING EXERCISES by Emanuel Kapelsohn, The Firearms Instructor, Issue
                                31 (2002)

                               REDMAN PROVIDES SIMULATION TRAINING POSTER by Emanuel
                                Kapelsohn, The Firearms Instructor, Issue 32 (2003)

                               Contributor to RedMan Firearms Simulation Safety Poster (2003)

                               Bobcat Weapons BW-5 Operator’s Manual. Emanuel Kapelsohn, author. (2004)

                               FIREARMS TRAINING STANDARDS FOR LAW ENFORCEMENT
                                PERSONNEL (IALEFI, Gilford, NH 2004 Rev.). E. Kapelsohn, principal
                                author

                               IALEFI GUIDELINES FOR SIMULATION TRAINING SAFETY. E.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 78 of 160 PageID: 2438


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 41


                                Kapelsohn, principal author. (IALEFI, Gilford, NH 2004)

                               “More First Hand Information,” by Emanuel Kapelsohn. The Gun Zone.
                                http://www.thegunzone.com/ayoob/magliato-kapelsohn.html

                               COURSES OF FIRE – PENNSYLVANIA BASIC HANDGUN
                               QUALIFICATION COURSE by Emanuel Kapelsohn, The Firearms Instructor,
                               Issue 42 (2007). Also reprinted in excerpted form in Pennsylvania MPOETC
                               Training Bulletin, Fall 2007.

                               QUALIFICATION COURSES OF FIRE: PENNSYLVANIA’S ADVERSE
                               LIGHT QUALIFICATION COURSE by Emanuel Kapelsohn, The Firearms
                               Instructor, Issue 44 (2008).

                               GETTING AND STOCKING A “GO BAG” by Emanuel Kapelsohn, The
                               Firearms Instructor, Issue 53 (2012).

                               “Banning Assault Weapons Won’t Make Nation’s Schools Safer” by E.
                               Kapelsohn, Allentown Morning Call, Op-Ed, January 6, 2013

                               “No Prepping,” Letter to the Editor, HANDGUNS Magazine, April/May 2014.

                               “The Glock Model 43: New 9mm Micro-Pistol,” by Emanuel Kapelsohn.
                                Law and Order magazine, August 2015.

                               “There Are No Safe Guns,” by Emanuel Kapelsohn. The Firearms Instructor,
                                Issue 58 (2016)

                               “Pennsylvania State Police Firearms Instructor Criminally Charged in Training
                                Death of Trooper,” by Emanuel Kapelsohn. The Firearms Instructor, Issue 58
                                (2016)

                                “Baltimore Police Firearms Instructor Convicted of Reckless Endangerment in
                                Accidental Shooting During Simunitions Training,” by Emanuel Kapelsohn.
                                Anticipated publication date: The Firearms Instructor, Issue 59 (2017)

                               “Civilian Response To Active Shooter Events,” by Emanuel Kapelsohn, Network
                                Magazine, January 2017

                               “For the Record” (letter to the Editor concerning the Yanez shooting incident and
                                trial. Concealed Carry Magazine, August/September 2017. Vol. 14, Issue 6.

                               “Safety With Dropped Guns” by Emanuel Kapelsohn, IALEFI Press-Check
                                (2021) and PA MPOETC Newsletter.

                               “To Score Or Not To Score: That Is The Question” by Emanuel Kapelsohn,
                               The Press Check, IALEFI (2021)

                               “Safety Guidelines for Simulation Training,” by Emanuel Kapelsohn, 2023


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 79 of 160 PageID: 2439


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 42


                                Revision, IALEFI, Gilford, NH.

                               Podcast on Organizing, Training and Managing Armed Congregant Security
                               Teams for Houses of Worship, https://armedcitizenstv.org/, and
                               https://www.youtube.com/watch?v=psVSMoCoAF8.


    SELECTED LIST
    OF AGENCIES
    TRAINED AND
    COURSES TAUGHT:

                               Basic Pistol and Special Pistol courses, American Pistol Institute
                                (Paulden, AZ 1980-1982): staff instructor.

                               Firearms Safety, Basic Handgun and Defensive Handgun courses,
                                U.S. Treasury Department Pistol Club, New York, NY (1980-1983).

                               Defensive Handgun Training, The Spiesman Agency, New York, NY
                                (1980-83): provided handgun training for detective agency.

                               Defensive Handgun Training and Qualification, Danbee Investigations
                                (New Jersey 1983): provided handgun training for detective agency
                                personnel.

                               Officer Survival Instructor Course. Massachusetts Criminal Justice Training
                                Council. (1984): taught the firearms portion of this instructor-level course.

                               Close-Range Handgun Techniques: Sampson Technical College, Clinton,
                                NC (1984). Taught this defensive handgun class.

                               Borough of Midland Park Police Department (NJ 1985): conducted semi-
                                automatic pistol transitional training for this department.

                               Union County (New Jersey) Prosecutor’s’s Office (Senior Firearms Instructor
                                Course. 1985): co-instructed three separate week-long courses for firearms
                                instructors from every police department in Union County under contract with
                                Rockwood Corporation, Police Training Division.

                               International Police Academy - Master Instructors Seminar (Morell,
                                Desmedt, et al.): guest instructor (Toms River, NJ 1986)

                               Connecticut State Police Academy. (Senior Firearms Instructor Course.
                                Meriden, CT, 1986 and 1988): guest instructor under contract with Rockwood
                                Corporation, Police Training Division.

                               NRA Law Enforcement Firearms Instructor School (U.S. Marine Base,
                                Quantico, VA 1986): instructor.



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 80 of 160 PageID: 2440


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 43


                               Hilltown Township Police Department (PA 1986): conducted semi-automatic
                                pistol transitional training for this department.

                               Glock Familiarization Course, Middlesex County, NJ 1987: taught a one-day
                                familiarization course for police firearms instructors from multiple agencies.

                               1987 Glock International Training Symposium. (Kansas City, Kansas): headed
                                a team of four instructors in conducting this training conference for some 70
                                participants.

                               Police Counter-Sniper Rifle Course. (Fort Dix, New Jersey 1987): co-instructed
                                this course for police and military counter-snipers.

                               Borough of Ramsey Police Department (NJ 1987): conducted semi-automatic
                                pistol transitional training program for this department.

                               International Association of Law Enforcement Firearms Instructors (IALEFI),
                                National Training Conferences (see above): conducted instructor-level
                                programs on Drawing the Handgun and Close-Range Shooting Techniques
                                (Philadelphia 1985); Dim Light Shooting Techniques, and Combat Shotgun
                                Characteristics (Orlando, FL 1986); Tactical Use of Cover (Mesa, Arizona
                                1987); Dim-Light Assault Rifle and Shotgun Techniques, and Semi-Automatic
                                Pistol Transitional Training (St. Augustine, FL 1988); Dim-Light Shotgun and
                                Rifle Techniques (Salt Lake City 1989); Concealed Carry Handgun, Auto-
                                Pistol Transitional Training, Dim-Light Handgun and Shotgun, and Police
                                Handgun Caliber Selection and Effectiveness (panel) (Washington, D.C. 1990);
                                Firearms Safety; Involuntary Muscular Contraction and Unintentional
                                Discharge (co-instructed with Dr. Roger Enoka) (Mesa, AZ 1991); Developing
                                Dynamic Training Exercises for the Patrol Officer (co-instructed with Peter
                                Tarley) (Tampa, FL 1992); Development of Dynamic Training Exercises for
                                Patrol Officers (co-instructed with Peter Tarley) (Reno, NV 1993); Dynamics
                                of a Gunfight (Orlando, FL 1994); Training Handgun Skills (Amarillo, TX ’95).

                               Basic and Advanced Defensive Handgun Courses (1982-1993): co-instructed
                                (with John Farnam) courses in locations including Fort Mead (MD),
                                Norristown (PA), Ledgewood (NJ), Berkeley Township (NJ), Princeton
                                Junction (NJ), Pipersville (PA), Dutchess County (NY), New York City (NY),
                                Salt Lake City (UT), Bradford (RI), Elroy (WI), East Stroudsburg (PA), and
                                Atlantic City (NJ).

                               New Jersey Armored Motor Carriers Association (1987): guest speaker on
                                subject of firearms training for the armored car industry.

                               Defensive Shotgun Course (East Stroudsburg, PA 1987).

                               Armored Motor Service Corp. (Trenton, NJ 1985-88): conducted handgun
                                training and qualification.

                               Princeton Armored Service (Trenton, NJ 1986-1990): conducted handgun


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 81 of 160 PageID: 2441


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 44


                                training and qualification.

                               Eastern Armored Service (Trenton, NJ 1991-1997): conducted handgun
                                training and qualification.

                               Berkleigh Career School (East Brunswick, NJ 1988-1989): conducted firearms
                                training program for security officer trainees.

                               NRA Law Enforcement Semi-Automatic Pistol Seminars. Helped to design,
                                and served as chief instructor for these courses taught at U.S. Marine Base,
                                Quantico, VA (1987); Florida Law Enforcement Training Center at Lively
                                (1988); Oklahoma City Police Academy (1988); Port Huron, Michigan (1988);
                                and Alamo Area Law Enforcement Academy, San Antonio, TX (1988).

                               Miami (FL) Police Department (Firearms Instructor Course, 1987): trained
                                MPD firearms instructors as part of this agency’s transition from revolver to
                                semi-automatic.

                               New Jersey Department of Environmental Protection, Bureau of Law
                                Enforcement (Firearms Instructor Workshop, 1987): trained NJDEP instructors
                                for this agency’s transition from revolver to semi-automatic.

                               National Armored Car Association (Annual Meeting. New York, NY 1987):
                                guest speaker on subject of current trends in firearms training and training-
                                related liability.

                               Atlantic City Police Academy. (Police Handgun Instructor Workshop, 1987.
                                Police Shotgun Instructor Workshop, 1987. Police Special Weapons Course,
                                1987. Glock 17 Familiarization Course, 1987).

                               New Jersey Correctional Officers Training Academy, Training Advisory Council
                                (1988): guest speaker on progressive firearms training and training liability.

                               Jacksonville (FL) Police Department (Firearms Instructor Course, 1988):
                                conducted handgun and shotgun instructor course.

                               Tennessee Bureau of Investigation (Firearms Instructor Course, 1988):
                                trained TBI firearms instructors in preparation for agency’s transition
                                from revolver to semi-automatic pistol.

                               Metropolitan Toronto Police (Auto-pistol Workshop. Toronto, Canada 1988):
                                conducted transitional pistol training for members of this agency’s police
                                academy, Emergency Task Force, and dignitary protection unit.

                               NRA Annual Meeting (Orlando, FL 1988): guest speaker before the
                                Legislative Affairs Committee and the opening session of the General Meeting.

                               Burlington County (NJ) Police Academy (Semi-Automatic Pistol Instructor
                                Workshops, 1985-1987; Shotgun Instructor Workshop, 1987; Officer Survival


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 82 of 160 PageID: 2442


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 45


                                Course, 1988; Firearms Instructor Update, 1991).

                               Atlantic City Police Department (Firearms Instructor Course, 1988): trained
                                ACPD instructors to conduct agency’s transition from revolvers to pistols.

                               Professional Conference, “Law and Management in the Security Industry.”
                                University of the West Indies, St. Augustine, Trinidad. July 1988. Featured
                                guest lecturer on topic “Current Trends in Firearms Training.”

                               New Jersey Department of Corrections (1988): conducted semi-automatic pistol
                                survey course as part of this agency’s process of selecting a service pistol.

                               Takoma Park Police Department (Maryland, 1988): conducted instructor-level
                                transitional training course.

                               Police Counter-Sniper Rifle Course (Glastonbury, Connecticut. 1988):
                                co-instructed this course for police counter-snipers.

                               SWAT Team Training Course. (Cape May County Police Academy, 1988):
                                conducted tactical team training in handgun, shotgun, assault rifle, and
                                submachine gun.

                               Lecture presentation: “Police Use of Lethal Force: Legal and Tactical
                                Considerations.” Emanuel Kapelsohn and Sgt. Evan Marshall. (Mt. Laurel,
                                New Jersey. 1988).

                               Jacksonville (Florida) Police Department (Firearms Instructor Workshop, 1988):
                                conducted transitional training instructor course preliminary to this agency’s
                                switch to semi-automatic pistols.

                               Conducted Glock Armorer Courses in Atlantic City, Boston, Sacramento,
                                San Francisco, San Diego, Carson City (Nevada), Washington, Chicago,
                                Trenton, New York City, Philadelphia, Indianapolis, Baltimore, Spokane,
                                Atlanta, Greensboro, Carlisle (PA), Phoenix, Oklahoma City, Seattle,
                                San Antonio, Jersey City, St. Thomas, Barbados, Billings (MT), Springfield
                                (MO), Wenatchee (WA), Jersey City (NJ), Bergen County (NJ) Police
                                Academy, Wyandotte (MI), Essex County (NJ) Police Academy, Overland
                                (MO), Irvington (NJ) Police Department, San Antonio (TX), Miami (FL), South
                                Carolina Justice Academy, North Carolina Justice Academy, St. Petersburg
                                (FL), Jacksonville (FL), Toronto, Barbados, Chapin (SC), Smyrna (GA),
                                Louisiana State Police Academy, and other locations (1987-1993).

                               Conducted Glock Firearms Instructor Workshops for/at Fulton County Sheriff’s
                                Office (NY), Yellowstone County Sheriff’s Office (MT), Middlesex County
                                (NJ) Police Academy, Bergen County (NJ) Police Academy, El Cajon (CA)
                                Police Department, Barbados Police Service, St. Petersburg (FL) Police
                                Department, North Platte (NE) Police Department, Overland (MO), Chapin
                                (SC), Essex County (NJ) Police Academy, Springfield (MO) Police
                                Department, Wenatchee (WA), Spokane (WA) Police Academy, Snohomish


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 83 of 160 PageID: 2443


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 46


                                County (WA) Sheriff’s Office, Louisiana State Police Academy, Jersey City
                                (NJ) Police Department, Smyrna (GA), and others (1987-1993).

                               Conducted Glock Armorer Classes and Glock Firearms Instructor Workshops at
                                Glock facility in Smyrna, Georgia, 1988-1993 (multiple classes).

                               Massachusetts Metropolitan Police (Boston, Massachusetts. 1988): trained
                                firearms instructors to conduct this agency’s transition to semi-auto pistols.

                               Sacramento Municipal Utilities District (California, 1988): trained nuclear
                                security firearms instructors for Rancho Seco nuclear power facility.

                               American Society of Law Enforcement Trainers, Second Annual International
                                Training Seminar (Kansas City, Missouri. 1989): conducted instructor-level
                                workshop on concealed handgun draw techniques and close-range defensive
                                tactics.

                               Metropolitan Police (Washington, D.C., 1989): conducted two programs to
                                train firearms instructors and armorers to implement this agency’s transition to
                                semi-automatic pistols.

                               Camp Smith, NY (1989): Speaker at Westchester County Firearms
                                Instructors Seminar on Semi-Automatic Pistol Transitional Training.
                                Topic: “Safety In The Transitional Training Program.”

                               Trenton (New Jersey) Police Department (1989): trained firearms instructors
                                and armorers to conduct agency’s transition to semi-automatic pistols.

                               New York Legal Aid Society (New York City, 1989?): co-instructed (with
                                Firearms Examiner D. Frangipani) firearms evidence lecture for attorneys.

                               Philadelphia Police Department (1989): trained firearms instructors and
                               armorers to conduct agency’s transition to semi-automatic pistols.

                               Trinidad-Tobago Police Academy (Port-of-Spain, 1990): presented firearms
                                instructor workshop in conjunction with handgun training program conducted
                                at Teteron Military Base.

                               Louisiana State Police Academy, Baton Rouge, LA (1990): conducted
                                submachine gun instructor school.

                               New York State Police (1990): performed a contract to conduct a series of
                                programs at five locations throughout New York State to train NYSP firearms
                                instructors to conduct agency’s transition to semi-automatic pistols.

                               IALEFI Regional Training Conference (Long Island NY. 1990): conducted
                                dim-light handgun training class.

                               Henrico County Police Department (Virginia, 1990): conducted two training


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 84 of 160 PageID: 2444


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 47


                                programs to prepare agency’s instructors to conduct transition to semi-
                                automatic pistols.

                               Virgin Islands Police Department (St. Thomas, 1990): conducted semi-
                                automatic pistol instructor training program.

                               Developed police shotgun armorer training program for O. F. Mossberg &
                                Sons, and conducted first Mossberg Shotgun Armorer Courses in Burbank,
                                Tacoma, Philadelphia, North Haven (CT), South Carolina Criminal Justice
                                Academy, North Carolina Justice Academy, Skokie (IL), Kansas City,
                                San Antonio, Louisiana State Police Academy, Salt Lake City, and other
                                locations (1990-1992). Course revised 2000, below.

                               Baltimore City Police Department (1990): conducted semi-automatic pistol
                                instructor training program.

                               Missouri State Highway Patrol (1990): presented training program to prepare
                                agency’s instructors to conduct transition to semi-automatic pistols.

                               Atlantic County’s Prosecutor’s Office: conducted Firearms Instructors
                                Recertification Course for all police firearms instructors in county (1990-2001)

                               Phoenix Regional Police Academy (1991): conducted armorer and semi-
                                automatic pistol instructor training program.

                               Maryland National Capital Park Police (1991): conducted semi-automatic pistol
                                instructor training program.

                               IALEFI Regional Training Conference (Dutchess County, N.Y. 1991): taught
                                classes on cover mode and involuntary discharge; advanced shotgun techniques.

                               DSIP (Caracas, Venezuela. 1991): conducted firearms training program for
                                bodyguard detail of President of Venezuela, and for members of drug task force
                                and elite counter-terrorist unit.

                               Oregon State Police (1991): conducted training program to prepare agency’s
                                instructors to conduct transition to semi-automatic pistols.

                               Clients for which Mr. Kapelsohn has provided training and consulting
                                services, both domestically and abroad from 1983 through the present time,
                                include investigative agencies, executive protection details, armored car and
                                precious metal companies, corporations involved in newspaper publishing,
                                advertising, finance, pharmaceuticals, insurance, defense manufacturing,
                                mining, firearms and related products, steel, the movie/television industry,
                                and manufacturing industries; police departments, federal agencies, cities, and
                                state law enforcement training commissions.

                               Kutztown Jaycees (1991): conducted firearms safety and BB gun marksmanship
                                training class for 8-12 year olds.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 85 of 160 PageID: 2445


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 48



                               Seattle Police Department (1991): conducted semi-auto pistol instructor program

                               American Society for Industrial Security (Schuylkill Valley Chapter, 1992):
                                presented lecture on current trends in security and law enforcement firearms
                                training.

                               NJ Department of Corrections, Glock 18 (select-fire pistol) Course for Witness
                                Protection Detail, Atlantic City Police Range (1992)

                               American Society of Law Enforcement Trainers Fifth International Training
                                Seminar (Milwaukee 1992): presented instructor-level classes on involuntary
                                muscular contraction and involuntary discharge.

                               IALEFI Regional Training Conference (Dutchess County, NY 1992): presented
                                lecture on training-related liability, documentation of training, and written
                                agency firearms policy.

                               IALEFI Regional Training Conference (Long Island, NY 1992): conducted
                                classes on tactical handgun and dim-light handgun.

                               Reading Area Community College (1992): Police Semi-Automatic Pistol
                                Instructor Workshop.

                               National Tactical Invitational, Lewisberry, PA 1992: taught class, “Legal
                                Considerations in the Use of Deadly Force.”

                               Northeastern Berks Regional Police Department (1992): Semi-Automatic Pistol
                                Training Program.

                               Salt Lake County Sheriff’s Department (1992): trained armorers and firearms
                                instructors to conduct transition to semi-automatic pistols.

                               Tactical Shotgun Course (1993): Pleasantville (NJ) Police Range.

                               IALEFI Regional Training Conference (Nassau County, NY 1993): conducted
                                class on firearms-related liability, written departmental firearms policies,
                                and documentation of training.

                               Dallas Police Department (1993): conducted police firearms instructors course.

                               North Carolina Justice Academy, Statewide Firearms Instructors Conference
                                (1993): Presented classes: Involuntary Muscular Contraction & Unintentional
                                Discharge; Developing Dynamic Training Exercises for Patrol Officers.

                               Jacksonville (FL) Police Department (1993): conducted police firearms
                                instructors course.

                               Carnegie Mellon University Police Department (Pittsburgh 1993): conducted


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 86 of 160 PageID: 2446


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 49


                                transitional training program and handgun instructor workshop.

                               Calgary Police Service Tactical Unit (1993): taught special weapons course
                                including submachine gun, shotgun, rifle, and handgun.

                               Yardley, PA (1994): Instructed Defensive Handgun Course.

                               Guest Speaker on topic “Should I Carry a Gun?” at JCK Show, Las Vegas,
                                NV (June 1994).

                               Connecticut Police Academy, Meriden, CT. Co-instructed senior instructor
                                program “Selecting a Shoulder Weapon” (April 1994).

                               “Firearms Training Liability and Trends,” Lehigh Valley Chapter, American
                                Society for Industrial Security (1994).

                               Kutztown Police Department (1994): conducted handgun and shotgun
                                training.

                               Defensive Shotgun Courses, Pittsburgh, PA and Harvard, Mass. (1995).

                               Handgun training and qualifications, Eastern Armored Service (Trenton,
                                NJ 1994-1996).

                               Guest speaker, Firearms Committee, Pennsylvania Municipal Police Officers
                                Education and Training Council (Hershey, PA 1995).

                               Connecticut Police Academy, Meriden, CT. Co-instructed Tactical Shotgun
                                Instructor course (1995).

                               “Trends in Police Firearms Training,” Pennsylvania Burglar and Fire Alarm
                                Association, Allentown, PA (1995).

                               Senior Firearms Instructor Course, Allentown Police Academy (PA 1995).

                               Defensive Handgun Course, Lehigh County District Attorney’s Office,
                                Allentown, PA (1996).

                               Firearms Instructor Recertification Course, Dallas Police Department, Dallas,
                                TX (1996).

                               Glock 19 Transition Courses, Princeton Armored Service, Trenton, NJ (1995-6)

                               Lecture: “Firearms Training-Related Liability,” Annual Conference, Arizona
                                Law Enforcement Firearms Instructors Association, Mesa, AZ (1996).

                               Firearms Safety Program, Cub Scouts of America, Topton, PA (1996).

                               Basic Personal Protection Handgun Courses, Topton (PA) Fish & Game


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 87 of 160 PageID: 2447


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 50


                                Association Range (1994-1996).

                               IALEFI Handgun Safety Check, IALEFI Regional Training Conference,
                                Philadelphia Police Academy (1996).

                               Legal and Practical Aspects of Firearms Self-Defense for Civilians, Muhlenberg
                                Township Recreation Department (1996-1997).

                               American Society of Law Enforcement Trainers Regional Training Conference,
                                Bergen County (NJ) Police Academy (1996): conducted instructor-level
                                courses on Tactical Handgun Skills; Dim-Light Handgun.

                               1996 IALEFI Annual Training Conference, Mesa, AZ. Co-instructed instructor-
                                level courses on Training-Related Liability; Safety and Use of Reactive Steel
                                Targets.

                               North Carolina Justice Academy Statewide Instructors Conference: conducted
                                instructor-level lectures on firearms safety, dim-light firing techniques, and
                                one-handed firearms manipulation (1997).

                               Berks County Sheriff’s Department: conducted revolver-to-semiautomatic pistol
                                transitional training for this 38-officer agency (1997).

                               IALEFI Regional Training Conference (Oklahoma City Sheriff’s Office 1997):
                                conducted instructor-level program, “Developing Dynamic Range
                                Exercises for Patrol Officers.”

                               Berks County Sheriff’s Department: assisted in conducting in-service
                                handgun and shotgun training, remedial training, and qualification
                                (1997-2007, 2012).

                               IALEFI Annual Training Conference (Columbia, Missouri, 1997):
                                co-instructed instructor-level program, “Legal Liability Update”;
                                conducted IALEFI Handgun Safety Check for over 100 students;
                                chief safety coordinator for this 6-day conference involving some 500
                                participants (students, instructors, vendors) in day and night training
                                activities, displays, and competitions. Courses attended: see above.

                               Lehigh County (PA) District Attorney’s Office (1997): conducted
                                handgun training course.

                               Kutztown (PA) Police Department: conducted in-service handgun
                                and shotgun training and qualification (1997, 2000, 2001, 2002, 2003).

                               Harrisburg Area Community College: Co-instructed pilot judgmental use
                                of force class for Pennsylvania MPOETC (1998).

                               Allentown (PA) Kiwanis Club: Guest speaker on “Firearms Safety and
                                Self-Defense” (1998).


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 88 of 160 PageID: 2448


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 51



                               U.S. Department of Health & Human Services, Office of the Inspector
                                General. Training and consulting contract to assist agency in updating
                                its firearms training program for Special Agents (1998).

                               Northeastern Berks Regional Police Department (1998): Conducted handgun
                                and shotgun qualifications and remedial training.

                               Berks County Postmasters Association: Guest speaker on “Personal
                                Security” (1998).

                               Less Lethal 12-Gauge Impact Munitions User Certification Course
                                (Berks County, PA, 1998).

                               Camp Cadet, Oley, PA (1998): Firearms safety presentation for 10-14 year
                                olds at summer camp sponsored by Pennsylvania State Police.

                               O.C. Civilian Users Certification Courses: Conducted a series of courses for
                                employees and for security officers of Fortune 500 company (1998-2001).

                               IALEFI Annual Training Conference (West Palm Beach, FL, 1998): Presented
                                instructor-level program, “Designing and Using Performance Objectives in
                                Firearms Training”; conducted IALEFI Handgun Safety Check for over 100
                                students; chief safety coordinator for this 6-day conference involving some
                                500 participants (students, instructors, vendors) in day and night training
                                activities, displays, and competitions. Courses attended: see above.

                               Harrisburg Area Community College: Assisted in presenting judgmental
                                use of force instructor certification course for Pennsylvania MPOETC (1999).

                               Police Patrol Rifle Users and Instructors Courses (Muhlenberg Twp. Police
                                Department 1999).

                               Presentations to Allentown, PA Chapter, American Inns of Court, on “Firearms,
                                Tactics and the Law” (Sept. 1999) and “Use of Experts in Firearms Cases”
                                (Oct. 1999).

                               IALEFI Annual Training Conference (Phoenix, 1999): Conducted IALEFI
                                Handgun Safety Check for over 100 students; chief safety coordinator
                                for this 6-day conference involving some 400 participants (students,
                                instructors, vendors) in day/night training classes, displays and competitions.

                               Allentown (PA) Police Academy: Basic Recruit Training Academy classroom
                                instructor on “Use of Force in Law Enforcement;” assistant range instructor in
                                firearms (1999-2007). “Laws of Arrest” and “Criminal Procedure” (2007).

                               Firearms Overview Course (Allentown Police Academy, 1999): presented
                                classroom and range program to researchers and doctors from University
                                of Pennsylvania (FICAP) study on gunshot injuries.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 89 of 160 PageID: 2449


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 52



                               IALEFI RTC (Philadelphia Police Academy, 2000): taught two courses
                                on Tactical Shotgun.

                               Eddie Eagle Firearms Safety Program taught to approx. 120 children,
                                grades K through 2, at The Swain School (Allentown, PA, 2000).

                               Firearms Instructor Update (Pennsylvania State Police Academy, 2000):
                                presented instructor-level program for Pennsylvania Municipal
                                Police Officers Education and Training Commission.

                               2000 IALEFI ATC, Tampa, FL: conducted IALEFI Handgun Safety Check
                                for over 100 students; chief safety coordinator for this 6-day event involving
                                nearly 500 participants (students, instructors, vendors) in day and night
                                training activities, displays and competitions; taught Mossberg Shotgun
                                Armorer Certification Course.

                               Lehigh County (PA) District Attorney’s Office (2000): conducted training
                                course, “Introduction to Firearms for Prosecutors” (CLE accredited) at
                                Allentown Police Academy.

                               Mossberg Shotgun Armorer Certification Courses (North Haven, CT, 2000):
                                presented two courses for police and military armorers. Consultant to
                                Mossberg re. revision of Armorer’s Manual.

                               “Legal and Practical Aspects of Firearms Self-Defense” (Topton, PA, 2000):
                                presented two courses at East Penn Outdoor Sportsmen’s Expo.

                               Eastern Armored Service (PA, 2000): conducted Glock pistol transitional
                                training for armored car personnel.

                               Mossberg Shotgun Armorer Certification Course (Fairfax, VA, 2000): taught
                               course for police armorers.

                               Guest Speaker at graduation dinner, Allentown (PA) Police Academy (2001)

                               Para-Ordnance LDA Pistol Armorer Certification Courses (Orange County, CA
                               and Oak Lawn, IL, 2001): taught courses for police and civilian armorers.

                               Para-Ordnance LDA Pistol Firearms Instructor Workshop (Oak Lawn, IL, 2001):
                                taught course for police firearms instructors in conjunction with agency’s
                                transition to this model of semi-automatic pistol.

                               Para-Ordnance LDA Pistol Armorer Certification Course, Rhode Island (2001).

                               Guest Speaker, “Firearms in the Home,” Allentown Rotary Club (2001)

                               Mossberg Shotgun Armorer Certification Course, Lisle, IL (2001): taught
                                course for police armorers.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 90 of 160 PageID: 2450


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 53



                               Firearms Training and Qualification, Berks-Lehigh Regional Police Department
                               (PA, 2001). Conducted user-level training for this newly-formed agency with
                               pistol, shotgun, patrol rifle, and less lethal impact munitions.

                               Guest Instructor, Citizens Police Academy, Exeter Township Police Department
                               (PA, 2001). Presented demonstration/discussion of concealed weapons and
                                related topics.

                               Personal Protection Course, Carpenter Technology Corporation, Reading, PA
                                (2001). Taught personal protection course (including pepper spray and hand-
                                to-hand self defense) to executives of Fortune 500 company and their spouses.

                               Firearms Instructor Update (Northeast Counter-Drug Training Center, Ft.
                                Indiantown Gap, PA 2001): presented instructor-level program for
                                Pennsylvania Municipal Police Officers Education and Training Commission.

                               Tacoma Police Department (WA, 2001). Developed and taught Kimber Pistol
                                Armorer’s Workshop and Kimber Pistol Instructor Course for this agency.

                               Las Vegas Metro Police Department (NV, 2001). Taught Mossberg Shotgun
                                Armorer Certification Course.

                               Mossberg Shotgun Armorer Certification Courses (North Haven, CT 2001).
                                Taught two armorer courses for O.F. Mossberg & Sons.

                               Mossberg Shotgun Armorer Certification Course (Utah County Sheriff’s Office,
                                UT 2001). Taught law enforcement armorer’s course.

                               “Legal and Practical Aspects of Firearms Self-Defense” (Topton, PA 2001):
                                taught course at East Penn Outdoor Sportsmen’s Expo.

                               Para-Ordnance LDA Pistol Armorer Certification Course (North Attleboro
                                Police Department, MA 2001).

                               2001 IALEFI Annual Training Conference, Reno, NV: conducted IALEFI
                                Handgun Safety Check for some 80 students; assistant safety coordinator for
                                this 6-day event involving nearly 400 participants; taught Mossberg Shotgun
                                Armorer Certification Course; panelist in panel discussion, “Point Shooting vs.
                                Aimed Fire.”

                               Presenter at Muhlenberg Twp. Police Dept. “Firearms and Home Safety” Class
                               (Temple, PA 2001): Lecture to mixed audience of adults and Boy Scouts.

                               Mossberg Shotgun Armorer Certification Course (Branson Police Department,
                                Branson, Missouri 2001). Taught law enforcement armorer’s course.

                               Mossberg Shotgun Armorer Certification Course, Fairfax, Virginia 2001. Taught
                                Law Enforcement armorer’s course to police and military personnel.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 91 of 160 PageID: 2451


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 54



                               Para-Ordnance LDA Pistol Armorer Certif. Course (Southampton, PA 2001)

                               Mossberg Shotgun Armorer Certification Course, Massachusetts State Police
                                Headquarters, Framingham, MA 2002.

                               Mossberg Shotgun Armorer Certification Course, Clearwater Police Department,
                                Clearwater, FL 2002.

                               Beretta DAO Pistol Training Course and Use of Force Legal Issues Class,
                                Bloomsburg University Police Department, Bloomsburg, PA 2002: Trained and
                                certified university police department to carry firearms.

                               Mossberg Shotgun Armorer Certification Course, Linn County Sheriff’s
                                Office, Albany, Oregon 2002

                               Mossberg Shotgun Armorer Certification Course, Shawnee County Sheriff’s
                                Department, Topeka, Kansas 2002.

                               Para-Ordnance LDA Pistol Armorer Certification Course, Kansas Highway
                                Patrol, Emporia, Kansas 2002.

                               Citizen’s Police Academy, Exeter Township Police Department (PA),
                                Guest instructor, training segment on weapons concealability (2002-2004).

                               Firearms Instructor Update, Berks County Sheriff’s Department,
                                Reading, Pennsylvania (2002)

                               Mossberg Shotgun Armorer Certification Course, New York City Police
                                Department, Ballistics Section (2002)

                               Introduction to Firearms for Juvenile Probation Officers, Allentown
                                Police Academy (2002)

                               Mossberg Shotgun Armorer Certification Course, Watertown Police Department,
                                Watertown, CT (2002)

                               Mossberg Shotgun Armorer Certification Course, Carol Stream, Illinois (2002)

                               2002 IALEFI Annual Training Conference, San Diego, CA. Chief safety
                                coordinator for this 6-day event involving over 300 participants in day and night
                                training activities, trade show, demonstrations and shooting competitions. Co-
                                instructed course on safety issues and procedures in simulation and role-playing
                                training exercises.

                               Mossberg Shotgun Armorer Certification Course, Martin County Sheriff’s
                                Office, Stuart, Florida (2002).

                               Mossberg Shotgun Armorer Certification Course, Fairfax, VA (2002).


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 92 of 160 PageID: 2452


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 55



                               Bureau of Alcohol, Tobacco & Firearms, Firearms Instructor Seminar, Orlando,
                                FL (2002). Guest Instructor.

                               Berks-Lehigh Regional Police Department, remedial dim-light training. (2003)

                               Guest Lecturer, University of Pennsylvania class, “Injury and the Public’s
                                Health,” School of Medicine/School of Public Health. Professor Charles
                                Branas, Ph.D. (2003)

                               Patrol Rifle Instructor Course, Reading, PA (2003)

                               Patrol Rifle Operator’s Course, Reading, PA (2003)

                               Bureau of Alcohol, Tobacco & Firearms, Firearms Instructor Seminar, San Diego
                                CA (2003). Guest Instructor.

                               Citizen’s Police Academy, Allentown Police Academy, Allentown, PA.
                                Instructor in Use of Force in Law Enforcement, Laws of Arrest (2003-5)

                               Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, Orlando,
                                FL (2003). Guest Instructor

                               IALEFI Annual Training Conference, Orlando, FL (2003). Assistant range
                                officer in Advanced Tactical Rifle class.

                               Mossberg Shotgun Armorer Certification Course. Rockland County (NY) Police
                                Academy (2003). Instructor.

    `                          Firearms Instructor Recertification Course. Atlantic County, NJ (2002, 2003).
                                Instructor

                               Defensive Shotgun Course. Reading, PA (2003). Instructor

                               Firearms Instructor Updates/Requalifications. Berks County Sheriff’s
                                Department, Reading, PA (2003-2005).

                               Guest Instructor, Lehigh County Municipal Emergency Response Team
                                Training, DeSalles University (2004)

                               Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, Orlando,
                                FL (2004). Guest Instructor

                               Patrol Rifle Instructors Course. Reading, PA (2004). Instructor

                               Patrol Rifle User’s Course. Reading, PA (2004). Instructor

                               Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, Los
                                Angeles, CA (2004). Guest Instructor


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 93 of 160 PageID: 2453


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 56



                               IALEFI Annual Training Conference, Dayton, Ohio (2004). Taught class
                                “Legal Update for Firearms Instructors.”

                               Patrol Rifle/Shotgun Workshop. Reading, PA (2004). Instructor

                               Atlantic County Prosecutor’s Office, Firearms Instructor Update. Atlantic
                                County, NJ (2004). Presented 3-day range and classroom instructor update.

                               Lecture, “Firearms, Firearms Safety and Self-Defense,” Lions Club, Bowers, PA
                                (2004). Guest lecturer.

                               Defensive Handgun & Shotgun Class. Hellertown, PA (2004). Instructor

                               Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, San
                                Francisco, CA (2005). Guest Instructor

                               Tactical Team Commanders Course, Jefferson Township (NJ) Police
                                Department, for Fox Valley Technical College/ Team One Network,
                                Guest Instructor (2005).

                               Advanced Defensive Handgun Class. Hellertown, PA (Spring 2005). Instructor.

                               Firearms Safety and Tactics Workshop. Salisbury Township Police Department,
                                Allentown, PA (2005). Instructor.

                               Bureau of Alcohol, Tobacco & Firearms. Firearms Instructor Seminar, San
                                Diego, CA (2005). Guest Instructor.

                               2005 IALEFI Annual Training Conference, Reno, NV. Co-instructed instructor-
                                level class on fast, accurate handgun shooting and target-focused fire.
                                Conducted Handgun Safety Check for approx. 100 new attendees. Chief
                                Safety Officer coordinating safety for this 6-day training conference, involving
                                over 400 attendees in classroom and firing range courses, firearms ompetition,
                                trade show with hands-on firearms demonstrations, etc.

                               Atlantic County Prosecutor’s Office, Firearms Instructor Update. Atlantic
                                County, NJ (2005). Presented 3-day range and classroom instructor update.

                               O.C. (“Pepper Spray”) Users Courses (Pennsylvania 2005). Presented training
                                courses for security officers of major pharmaceutical manufacturer.
                                Patrol Rifle Operators Refresher Course (Berks County Sheriff’s Dept. 2005).

                               Advanced Defensive Handgun Course. Hellertown, PA. (Fall 2005). Instructor.

                               Defensive Handgun & Shotgun Training (Pennsylvania 2005, 2006, 2007, 2008,
                                2009). Presented a series of firearms training courses for security officers of a
                                major pharmaceutical manufacturer.



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 94 of 160 PageID: 2454


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 57


                               “Home Firearms Safety and Self-Defense” lecture/demonstration for 35th
                                Anniversary Charter Night, Lions Club, Bowers, PA (2006).

                               North Carolina 2006 Police Firearms Instructors Conference, North Carolina
                                Justice Academy (2006). Featured presenter: lectured to 250 law enforcement
                                firearms instructors on safety in simulation training; involuntary muscular
                                contraction and unintentional discharge of firearms; police deaths and
                                administrative gun handling safety considerations; and mental conditioning and
                                tactics in officer- involved shootings.

                               2006 IALEFI Annual Training Conference, West Palm Beach, FL. Moderator of
                                panel discussion, “Panel of Experts on Firearms Topics,” including techniques
                                for covering suspects at gunpoint, manipulation of manual safeties, use of
                                weapon-mounted lights, etc. Assisted in conducting Handgun Safety Check for
                                participants; monitored classes on Patrol Rifle, Concealed Carry Handgun.

                               Allentown Police Tactical Pistol League. Conducted training session for police
                                officers. (2006)

                               Patrol Rifle Workshop. Hellertown, PA. (2006)

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2006). Presented classroom and range instructor update.

                               IALEFI Regional Training Conference, Ocean City, Maryland (2006). “Tactical
                                Handgun Overview.” Featured instructor at regional police training conference.

                               “Use of Force in Law Enforcement.” Two classes; Kutztown Police
                                Department, Kutztown, PA (2007)

                               “Legal & Practical Aspect of Self-Defense with Firearms,” Hellertown, PA
                                (Winter 2007). Lecture/demonstration presentation to some 100 attendees.

                               “Use of Force Legal Concepts,” Reading, PA (2007). Conducted instruction on
                                principles of justification for use of force, etc. for Carpenter Technology
                                security officers.

                               Glock Pistol Transitional Training, Eastern Armored Services (2007).
                                Conducted transitional training classes for armored car personnel.

                               Pepper Spray User’s Course. Conducted pepper spray user training and
                                certification for corporate/industrial security officers. (2007)

                               IALEFI 2007 Annual Training Conference, San Antonio, TX. Assisted in
                                conducting handgun safety check for 175 firearms instructors.

                               “Police Involved Shootings – When the Smoke Clears,” Westchester County
                                Detectives Association, Yorktown Heights, NY (2007). Lecture presentation to
                                160 attendees on subjects including psychological and perceptual distortions


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 95 of 160 PageID: 2455


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 58


                                and stress reactions of officers involved in shootings; involuntary muscular
                                contraction and accidental discharge of firearms; liability and safety issues of
                                weapon-mounted lights and lasers; officer reluctance to fire; etc.

                               “Use of Force Legal Theory” class and “Glock Pistol User’s Class” conducted
                                for California University of Pennsylvania Police Department. (California, PA
                                2007). Consulted, and conducted classroom and range instruction for this
                                university police department in its adoption of a service pistol.

                               Legal & Practical Aspects of Self-Defense with Firearms, Hellertown, PA (Fall
                                2007). Lecture/demonstration presentation to 30 attendees.

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2007). Presented 3-day firearms instructor update
                                (classroom and range) for approximately 30 police firearms instructors.

                               Pepper Spray User’s Course. Conducted pepper spray user training and
                                certification for corporate/industrial security officers. (2008, 2010)

                               Defensive Handgun, Shotgun and Use of Force Training (Pennsylvania 2008 -
                               2012). Conducted training for security officers of a major pharmaceutical
                               manufacturer.

                               2008 IALEFI ATC, Reno, Nevada. Conducted IALEFI Handgun Safety
                                Check for approximately 125 shooters on range. Taught classes on “Shotgun
                                Instructor Skills.”

                               Defense Training International, Women’s Handgun Class. Rochester, Indiana
                                (2008). Served as adjunct instructor for this women-only class.

                               “Covering Suspects at Gunpoint and Involuntary Muscular Contraction.”
                                Training segment conducted for Greene County Sheriff’s Reserve (2008)

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2008). Presented 3-day firearms instructor update
                                (classroom and range) for approximately 25 police firearms instructors.

                               Greene County Sheriff’s Department. Assistant range instructor for dim light
                                Handgun & rifle qualification; assisted in developing dim light rifle
                                qualification course; provided remedial instruction as needed. (2009-2012)

                               “How Close is Too Close?” Training segment conducted for Greene County
                                Sheriff’s Reserve (2009)

                               “Ammunition Inspection Procedures,” “Dry Practice Safety Procedures,” and
                               “Safety in Gun Cleaning” training segments conducted for Greene County
                                Sheriff’s Reserve (2009)

                               Indiana University (Bloomington, IN), Criminal Justice Department. Taught


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 96 of 160 PageID: 2456


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 59


                                3-credit senior seminar, “Police Use of Force.” (2009, 2010)

                               2009 Conference, International Law Enforcement Educators & Trainers
                                Association (Chicago, IL): taught course, “Bulletproofing Your Agency’s
                                Use of Force Policies.”

                               2009 IALEFI Annual Training Conference, West Palm Beach, Florida.
                                Conducted IALEFI Handgun Safety Check (range drills) for 70-plus
                                trainees; taught course, “Management and Investigation of Officer-Involved
                                Shootings” (two sessions).

                               Intermediate Defensive Handgun. Trained female student in defensive handgun
                                skills in intensive 2-day program. Hellertown, PA. (2009)

                               Remedial Handgun Training. Provided series of remedial training sessions for
                                two female law enforcement officers. (Indiana 2009)

                               Police Patrol Rifle Instructor Course, Reading, PA. (2009)

                               Prosecutor’s Training, “Police Use of Force,” Greene County, IN. (2009)
                                Developed and presented this mandatory training course for police from
                                agencies throughout the county.

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2009). Presented 3-day firearms instructor update
                                (classroom and range) for approximately 35 police firearms instructors.

                               “Police Use of Force.” Citizens’ Police Academy, Linton Police Department,
                                Indiana (2010).

                               Firearms Safety & Home Firearms Storage Safety; Distinguishing Toy Guns and
                                Airguns from “Real” Guns; Dry Practice Safety Protocols; Drawing the

                               Handgun. Training segments conducted for Greene County Sheriff’s Reserve
                               (2010).

                               Moderator and Panelist, Panel Discussion: “Current Issues in Firearms & Tactics
                                Training, 2010 IALEFI Annual Training Conference, San Antonio, TX. Also,
                                conducted Handgun Safety Check for 120 first-time attendees.

                               Patrol Rifle Instructor & User’s Course, Reading, PA (2010).

                               Police Firearms Instructor Update, Allentown (PA) Police Academy (2010).

                               Prosecutor’s Training, “Police Use of Force Update,” Greene County, IN (2010)

                               “Use of Force Law & Policy,” Berks County (PA) Sheriff’s Department (2010)

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 97 of 160 PageID: 2457


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 60


                                Atlantic County, NJ (2010). Presented two 3-day firearms instructor update
                                courses (classroom and range) for approximately 45 police firearms instructors.

                               Judgmental Use of Force Training. Designed and conducted a judgmental use of
                                force training program for law enforcement officers in Greene County, Indiana.
                                Program utilized FATS video simulator, firearms, OC spray, Taser, verbal
                                challenges, use of cover, verbalization with suspects and fellow officers,
                                preparing and debriefing after writing an incident report on one of the scenarios
                                the trainee experienced, etc. (Bloomfield, IN 2011).

                               Judgmental Use of Force Instructor Certification Class. Trained a cadre of
                                instructors to teach a judgmental use of force program, including the FATS
                                system, report writing, etc. (Bloomfield, IN 2011)

                               Clearing Handgun Stoppages. Training conducted for Greene County
                                Sheriff’s Reserve (2011).

                               One-handed Handgun Operation. Training conducted for Greene County
                                Sheriff’s Reserve (2012)

                               Police Use of Force, Citizens Police Academy, Linton, IN (2012)

                               Panelist, Use of Force “Panel of Experts” at 2012 ILEETA Conference, Chicago.

                               Patrol Rifle Instructor Course, Berks County, PA (2012)

                               FATS Judgmental Firearms Training Program, Greene County, IN (2012).
                               Designed and helped to conduct FATS simulator training for law enforcement
                               officers from countywide agencies.

                               IALEFI 2012 Annual Training Conference, Nashville, TN. Taught class,
                               “The Firearms Instructor as Expert Witness.”

                               Live-Fire Decision Making Shooting Exercises, Greene County, IN (2012).

                               IALEFI Shotgun Master Instructor Development Progam, Monroeville, PA
                               (2012)

                               Firearms Instructor Update & Recertification, Atlantic County, NJ (2012)

                               Legal & Practical Aspects of Self Defense With Firearms. Hellertown
                               Sportsmen’s Association, Hellertown, PA (2012)

                               Police Explorers firearms training class. Berks County, PA (2012)

                               Berks County Sheriff’s Department training and qualification (2012)

                               North Carolina Justice Academy, Firearms Instructor Update. Lecture “Post
                                Shooting Procedures, Policies and Concerns” (2012). Presentation to 125


    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 98 of 160 PageID: 2458


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 61


                                firearms instructors representing law enforcement agencies statewide.

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2012). Presented two 3-day firearms instructor update
                                courses (classroom and range) for approximately 45 police firearms instructors.

                               2013 IALEFI Annual Training Conference, Mobile, AL. Conducted IALEFI
                                Handgun Safety Check for approx.. 90 attendees; Presented class:
                               “Encouraging Off-Duty Carry.”

                               Legal & Practical Aspects of Firearms Self-Defense. Hellertown, PA (2013)

                               IALEFI Regional Training Conference, Harrisburg Area Community College,
                                Piccola Law Enforcement Training Center. Conference Coordinator. Taught
                                courses, “Officer-Involved Shootings: Policies, Procedures & Concerns” and
                                “Lethal Force Confrontations Instructor.” Assisted in presenting Tavor Rifle
                                Armorer Level I Class. (2013)

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2013). Presented two 2-day firearms instructor update
                                courses (classroom and range) for approximately 50 police firearms instructors.

                               Norfolk Southern Railroad Police Training Seminar, “Bulletproofing Your
                                Agency’s Use of Force Policy” and “Officer-Involved Shootings: Policies,
                                Procedures and Concerns.” Brosnan Forest, SC (2014).

                               Deadly Force Expert Panel, 2014 ILEETA Conference, Lombard, IL. Panelist.

                               2014 IALEFI Annual Training Conference, Amarillo, TX. Conducted IALEFI
                                Handgun Safety Check for approximately 90 attendees; presented class “Using
                                Firearms Experts in Officer-Involved Shooting Cases.”

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2014). Presented two separate 2-day firearms instructor
                                update courses (classroom and range) for police firearms instructors county-
                                wide.

                               Police Patrol Rifle Instructor Course. Hosted by Allegheny Township Police
                                Department, Duncansville, PA. (2014)

                               2015 ILEETA Conference, Panelist, “Deadly Force Panel of Experts;” Panelist,
                               “Active Shooter Panel.” Wheeling, IL.

                               2015 IALEFI Annual Training Conference, West Palm Beach, FL. Taught two
                               classes for 76 students, “Training Gone Wrong.”

                               Police Firearms Instructor Course. Hosted by Martinsburg Police Department,
                                PA. (2015)



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 99 of 160 PageID: 2459


    Curriculum Vitae:
    Emanuel Kapelsohn
    Page 62


                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2015). Presented 2-day firearms instructor update
                                courses (classroom and range) for police firearms instructors county-wide.

                               Pilot program, “Police Use of Force,” Piccola Law Enforcement Training Center,
                                Harrisburg Area Community College (2015). Co-instructed this pilot program
                                for mandatory in-service training class to be presented in 2016 to approximately
                                25,000 police officers throughout the Commonwealth of Pennsylvania.

                               IALEFI Regional Training Conference, Freeport Police Range, Long Island, NY
                                (2015). Taught two instructor-level classes on current law enforcement use-of-
                                force issues and cases. Classes attended: see above.

                               MPOETC Instructor Training Class for 2016 Mandatory In-Service Training
                                (“MIST”) “Police Use of Force” Class. Co-instructed this instructor-training
                                class for the Pennsylvania MPOETC for approximately 40 instructors at the
                                Montgomery County Law Enforcement Training Center, Conshohocken, PA
                                (2015).

                               Basic Defensive Handgun Course, Hellertown, PA 2016.
                               “Deadly Force Panel of Experts” panelist, 2016 ILEETA Conference, Rosemont,
                                IL.

                               Moderator and Panelist, Panel Discussion, “Firearms Training and Use of Deadly
                               Force,” 2016 IALEFI Annual Training Conference, Mobile, AL.

                               Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                                Atlantic County, NJ (2016). Presented two 2-day firearms instructor update
                                courses (classroom and range) for police firearms instructors county-wide.

                               Civilian Response to Active Shooter Events (CRASE) Training, Lehigh Valley
                                Consortium of Professional Organizations (2016) Presented this Texas State
                                University program for approximately 40 attendees.

                               Use of Force and Firearms Training, Upper Macungie Township Police
                                Department, Pennsylvania. Provided classroom and range instruction for
                                this municipal police department (2016).

                               Firearms Instructor Workshop and Remedial Handgun Training for Northampton
                                County Sheriff’s Department, Pennsylvania (2016).

                               Rangemaster Tactical Conference, lecture presentation, “Use of Force Legal
                                Cases: Lessons Learned.” Little Rock, Arkansas (2017).

                               “Deadly Force Panel of Experts” panelist, 2017 ILEETA Conference, St. Louis,
                                MO.

                               “Patrol Rifle Panel” panelist, 2017 ILEETA Conference, St. Louis, MO.



    900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 100 of 160 PageID:
                                    2460

  Curriculum Vitae:
  Emanuel Kapelsohn
  Page 63


                             North Carolina Justice Academy, IALEFI Regional Training Conference, lecture
                              presentation, “Officer-Involved Shootings: When Tiny Details Become
                              Critical,” 2017.

                             IALEFI 2017 Annual Training Conference, West Palm Beach, FL. Lecture
                              presentation, “Legal Update on Officer-Involved Shootings: The Expert
                              Witness Viewpoint.”

                             Armed Security Officers Training Program, Reading, PA. Classroom and range
                              training for two groups of armed security officers for Reading Hospital/Reading
                              Health System. (2017)

                             Patrol Rifle Instructor Course, hosted by Muhlenberg Township Police
                              Department, Reading, PA. (2017)

                             Firearms training and consulting for church security team. Berks and Lehigh
                             County, PA 2017-2021.

                             Use of force and firearms training and consulting for synagogue security team.
                             Lehigh County, PA 2017-2021.

                             Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                              Atlantic County, NJ (2017). Presented firearms instructor update
                              course (classroom and range) for police firearms instructors county-wide (two
                              classes) 2017.

                             “Deadly Force Panel of Experts” panelist, 2018 ILEETA Conference, St. Louis,
                              MO.

                             “Active Shooter Panel” panelist, 2018 ILEETA Conference, St. Louis, MO.

                             “Review of Recent Officer-Involved Shootings,” IALEFI ATC, Houston, TX
                              2018.

                             Patrol Rifle Instructor Course for Assistant Chief of Upper Macungie Township
                             Police Department, 2017-2018 (multiple sessions).

                             Pepper gel classes, taught for security team members of religious congregations.
                             (2018, 2019)

                             Class on tactical first aid, including use of Israeli battle dressings, tourniquets,
                             Combat Gauze, and occlusive dressings, taught for teachers and staff of
                             religious congregation. (2018)

                             Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                             Atlantic County, NJ. Presented two firearms instructor update courses
                             (classroom and range) for police firearms instructors county-wide (2018).

                             Pepper gel class for employees, family members of professional firm (2018).


  900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 101 of 160 PageID:
                                    2461

  Curriculum Vitae:
  Emanuel Kapelsohn
  Page 64



                             IALEFI ATC, West Palm Beach, FL (2019): Taught instructor-level course on
                             “Officer-Involved Shootings” to approximately 35 instructors.

                             Firearms training and tactical first aid classes, taught to security group of
                             religious congregation in Allentown, PA (2019)

                             Active Shooter/Left of Bang: Coordinated and assisted in two large lecture
                             presentations on these subjects at Trexlertown, PA, and at Harrisburg Area
                             Community College, Law Enforcement Training Complex for approximately 100
                             attendees each, with lead lecturer Don Alwes (2019).

                             Active Shooter/Left of Bang: Hellertown, PA. Hands-on active shooter response
                             class, Airsoft simulation scenarios and live fire training, co-instructed with Don
                             Alwes. (2019)

                             Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                             Atlantic County, NJ. Presented firearms instructor update courses (classroom
                             and range) for police firearms instructors county-wide, two sessions (2019).

                             Active Shooter Preparation and Response: St. John’s Church on Morgan Hill,
                              Easton, PA. Presentation to Consistory Group (2019)

                             Active Shooter Response and the Law: Presentation for Allentown Barrister’s
                              Inn (attorneys, prosecutors and judges). PACLE Credit-approved. (2019)
                             “Firearms Safety, Legal Justification for Use of Force, and Policy” presented for
                             approximately 30 members of church security team. Allentown, PA (2020)

                             Pepper gel training, presented for staff and religious school teachers of a house of
                              worship. Allentown, PA (2020)

                             M4 Carbine Use of Cover and M9 Pistol Training for military personnel at Fort
                              Myer (Joint Base Myer – Henderson Hall), VA (2020)

                             Police Firearms Instructor Course, Berks County, PA. Hosted by Berks County
                              Sheriff’s Office. (2020)

                             Defensive Handgun and Patrol Rifle, Defense Training International, Sussex, NJ
                              October 2020. Assisted in teaching this course. (John Farnam, chief instructor)

                             Defensive Handgun Training/Qualification for members of house of worship
                              security team. Berks County (2020).

                             Police Firearms Instructor Course, Blair County, PA. Hosted by Martinsburg
                              Police Department (2020).

                             Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                             Atlantic County, NJ. Presented firearms instructor update courses (classroom
                             and range) for police firearms instructors county-wide, two sessions (2020).


  900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 102 of 160 PageID:
                                    2462

  Curriculum Vitae:
  Emanuel Kapelsohn
  Page 65



                             Classroom and range defensive handgun training for security officers of a mining
                              operation. Pennsylvania (2021).

                             “Firearms Safety, Legal Justification for Use of Force, and Policy” presented for
                              approximately 35 members of church security team. Allentown, PA (2021)

                             “Training an Armed Congregant House of Worship Protective Team,” “Active
                              Shooter Discussion Panel” (panel member), and “Deadly Force Discussion
                              Panel” (panel member), ILEETA Annual Conference, St. Louis, MO (2021)

                             DTI Defensive Handgun Course, Sussex, New Jersey (2021). Served as an
                              Assistant Instructor in this 2-day program for 27 attendees.

                             Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                             Atlantic County, NJ. Presented firearms instructor update courses (classroom
                             and range) for police firearms instructors county-wide, two sessions (2021).

                             Defensive Handgun for House of Worship Protective Team Members,
                              Allentown, PA (2022). Lead instructor.

                             IALEFI Annual Training Conference, Las Vegas, NV (2022). Conducted Safety
                              Check for Attendees. Courses attended, see above.

                             Firearms Video Simulator Training, Lead Instructor, 3 days, for 35 police and
                             security officers, Allentown, PA (2022)

                             Defensive Handgun Training and Qualification for house of worship security
                             team members, Lead Instructor, Topton, PA (2022)

                             Armed Security Officers Training Program, Lehigh County, PA. Wrote Firearms
                             and Use of Force Policy, Designed Training Program, and conducted classroom
                             and range training for armed security officers of large, multi-state public utility
                             company (2020-2022)

                             DTI Urban Rifle Course, Sussex, NJ, Adjunct Instructor (2022)

                             Atlantic County Prosecutor’s Office, Firearms Instructor Recertification Course.
                              Atlantic County, NJ. Presented firearms instructor update courses for police
                             firearms instructors county-wide, two sessions (2022).

                             Defensive Handgun Training and Qualification for house of worship security
                             team members, Lead Instructor, Topton, PA (2023)

                             IALEFI Annual Training Conference, Houston, TX (2023). Conducted Handgun
                              Safety Check for Attendees. Courses attended, see above.

                             Handgun Qualification/Use of Force Refresher for Corporate Security Officers,
                             Allentown, PA (2023)


  900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 103 of 160 PageID:
                                    2463

  Curriculum Vitae:
  Emanuel Kapelsohn
  Page 66



                             Handgun Qualification/Use of Force Refresher for Estate Security Officers,
                             Topton, PA (2023)

                             Use of Force Reality-Based Training (Scenario Training) for Church Security
                              and Medical Team members, including defensive tactics training, Allentown,
                              PA (2023)

                             Legal Issues for Law Enforcement Instructors, taught at 2023 Team One
                             Network Instructor Conference, Fredericksburg, VA (2023)

                             Plus, numerous basic through advanced and remedial training sessions for
                             individual students and small groups, including private individuals, corporate
                             executives and dignitaries, executive protection personnel, security officers,
                             private investigators, military, federal agents and law enforcement officers at all
                             levels. (1978 to present)




  REFERENCES:                Personal and professional references available on request.




  900200.00001/50250438v.1
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 104 of 160 PageID:
                                    2464
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 105 of 160 PageID:
                                    2465
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 106 of 160 PageID:
                                    2466
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 107 of 160 PageID:
                                    2467
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 108 of 160 PageID:
                                    2468
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 109 of 160 PageID:
                                    2469
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 110 of 160 PageID:
                                    2470
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 111 of 160 PageID:
                                    2471
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 112 of 160 PageID:
                                    2472
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 113 of 160 PageID:
                                    2473
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 114 of 160 PageID:
                                    2474
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 115 of 160 PageID:
                                    2475
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 116 of 160 PageID:
                                    2476
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 117 of 160 PageID:
                                    2477
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 118 of 160 PageID:
                                    2478
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 119 of 160 PageID:
                                    2479
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 120 of 160 PageID:
                                    2480
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 121 of 160 PageID:
                                    2481
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 122 of 160 PageID:
                                    2482
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 123 of 160 PageID:
                                    2483
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 124 of 160 PageID:
                                    2484
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 125 of 160 PageID:
                                    2485
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 126 of 160 PageID:
                                    2486
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 127 of 160 PageID:
                                    2487
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 128 of 160 PageID:
                                    2488
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 129 of 160 PageID:
                                    2489
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 130 of 160 PageID:
                                    2490
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 131 of 160 PageID:
                                    2491
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 132 of 160 PageID:
                                    2492
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 133 of 160 PageID:
                                    2493
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 134 of 160 PageID:
                                    2494
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 135 of 160 PageID:
                                    2495
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 136 of 160 PageID:
                                    2496
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 137 of 160 PageID:
                                    2497
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 138 of 160 PageID:
                                    2498
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 139 of 160 PageID:
                                    2499
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 140 of 160 PageID:
                                    2500
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 141 of 160 PageID:
                                    2501
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 142 of 160 PageID:
                                    2502
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 143 of 160 PageID:
                                    2503
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 144 of 160 PageID:
                                    2504
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 145 of 160 PageID:
                                    2505
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 146 of 160 PageID:
                                    2506
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 147 of 160 PageID:
                                    2507
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 148 of 160 PageID:
                                    2508
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 149 of 160 PageID:
                                    2509
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 150 of 160 PageID:
                                    2510
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 151 of 160 PageID:
                                    2511
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 152 of 160 PageID:
                                    2512
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 153 of 160 PageID:
                                    2513
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 154 of 160 PageID:
                                    2514
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 155 of 160 PageID:
                                    2515




           EXHIBIT “15A”
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 156 of 160 PageID:
                                    2516
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 157 of 160 PageID:
                                    2517
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 158 of 160 PageID:
                                    2518
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 159 of 160 PageID:
                                    2519




            EXHIBIT “15B”
Case 1:18-cv-10507-RMB-JBD Document 175-5 Filed 10/06/23 Page 160 of 160 PageID:
                                    2520
